USCA Case #19-1066       Document #1778708         Filed: 03/15/2019   Page 1 of 68



              IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT


SHAFER & FREEMAN LAKES           )
ENVIRONMENTAL CONSERVATION )
CORPORATION, CARROLL COUNTY, )
INDIANA, WHITE COUNTY, INDIANA, )
and CITY OF MONTICELLO, INDIANA, )
                                 )
      Petitioners,               )
                                 )                 No.    19-1066
      v.                         )
                                 )
FEDERAL ENERGY REGULATORY        )
COMMISSION,                      )
                                 )
      Respondent.                )

                             PETITION FOR REVIEW

      Acting pursuant to Section 313 of the Federal Power Act, 16 U.S.C. § 825l,

Federal Rule of Appellate Procedure 15, and D.C. Circuit Rule 15, Shafer &

Freeman Lakes Environmental Conservation Corporation; Carroll County, Indiana;

White County, Indiana; and City of Monticello, Indiana (collectively Petitioners)

petition this Court for review of the orders of Respondent Federal Energy

Regulatory Commission listed below, and pray that those orders be modified or set

aside in whole or in part:

      1.     Order Amending License, Approving Revised Operation and

             Compliance Plan, and Terminating Temporary Variance, Northern
USCA Case #19-1066       Document #1778708           Filed: 03/15/2019    Page 2 of 68



            Indiana Public Service Company LLC, 163 FERC ¶ 61,212 (June 21,

            2018) (Attachment 1); and

      2.    Order Denying Rehearing, Northern Indiana Public Service Company

            LLC, 166 FERC ¶ 61,030 (January 17, 2019) (Attachment 2).

      This petition is timely filed “within sixty days after the order of the

Commission upon the application for rehearing.” 16 U.S.C. § 825l(b).

Dated: March 15, 2019                  Respectfully submitted,

                                       /s/ Alan I. Saltman
                                       Alan I. Saltman
                                       Smith, Currie & Hancock LLP
                                       1025 Connecticut Avenue, N.W., Suite 600
                                       Washington, D.C. 20036
                                       Telephone: 202-452-2140
                                       aisaltman@smithcurrie.com

                                       Counsel for Petitioners




                                          2
USCA Case #19-1066      Document #1778708          Filed: 03/15/2019   Page 3 of 68



              IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT


SHAFER & FREEMAN LAKES           )
ENVIRONMENTAL CONSERVATION )
CORPORATION, CARROLL COUNTY, )
INDIANA, WHITE COUNTY, INDIANA, )
and CITY OF MONTICELLO, INDIANA, )
                                 )
      Petitioners,               )
                                 )                 No.    19-1066
      v.                         )
                                 )
FEDERAL ENERGY REGULATORY        )
COMMISSION,                      )
                                 )
      Respondent.                )

                   RULE 26.1 DISCLOSURE STATEMENT

      Pursuant to Federal Rules of Appellate Procedure 26.1 and D.C. Circuit

Rule 26.1, Petitioners make the following disclosure:

      Non-Governmental Corporate Party to this Action: Shafer & Freeman

Lakes Environmental Conservation Corporation (SFLECC)

      Parent Corporations: None.

      Publicly Held Company that Owns 10% of More of Party’s Stock: None.

      Party’s General Nature and Purpose: SFLECC is a not-for-profit, 501(c)(3)

corporation established in 1994. SFLECC is the owner of some 2,000 parcels

comprising 4,000 acres of land around and beneath Lakes Freeman and Shafer,

which it licenses to resident and vacation homeowners, rental properties, marinas,
USCA Case #19-1066        Document #1778708            Filed: 03/15/2019     Page 4 of 68



and a host of local businesses. SFLECC’s mission is to protect and enhance the

environment and water quality of Lakes Freeman and Shafer, on its own behalf and

on behalf of its licensees, to facilitate public recreational use of the lakes.

Dated: March 15, 2019                    Respectfully submitted,

                                         /s/ Alan I. Saltman
                                         Alan I. Saltman
                                         Smith, Currie & Hancock LLP
                                         1025 Connecticut Avenue, N.W., Suite 600
                                         Washington, D.C. 20036
                                         Telephone: 202-452-2140
                                         aisaltman@smithcurrie.com

                                         Counsel for Petitioners




                                            2
USCA Case #19-1066       Document #1778708           Filed: 03/15/2019    Page 5 of 68



                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the forgoing has been

furnished via electronic transmission (where email addresses are shown below) and

first-class mail with postage prepaid, this 15th day of March, 2019 to:

Claudia Earls, Esq., Chief Counsel
M. Bryan Little, Esq., Counsel
Northern Indiana Public Service Company, LLC
801 E 86th Ave.,
Merrillville, IN, 46410
cearls@nisource.com
blittle@nisource.com

Corporation Service Company
135 North Pennsylvania Street, Suite 1610
Indianapolis, IN 46204
Registered agent for Northern Indiana
Public Service Company, LLC


Dated: March 15, 2019                  Respectfully submitted,

                                       /s/ Alan I. Saltman
                                       Alan I. Saltman
USCA Case #19-1066   Document #1778708   Filed: 03/15/2019   Page 6 of 68




                        19-1066
                     ATTACHMENT 1
USCA Case #19-1066       Document #1778708           Filed: 03/15/2019    Page 7 of 68



                            163 FERC ¶ 61,212
                       UNITED STATES OF AMERICA
                FEDERAL ENERGY REGULATORY COMMISSION


Before Commissioners: Kevin J. McIntyre, Chairman;
                      Cheryl A. LaFleur, Neil Chatterjee,
                      Robert F. Powelson, and Richard Glick.

Northern Indiana Public Service Company LLC                     Project No. 12514-074


    ORDER AMENDING LICENSE, APPROVING REVISED OPERATION AND
     COMPLIANCE PLAN, AND TERMINATING TEMPORARY VARIANCE

                                (Issued June 21, 2018)

1.     On October 2, 2014, Northern Indiana Public Service Company LLC (NIPSCO or
licensee) 1 applied to amend its license for the 16.4-megawatt (MW) Norway-Oakdale
Hydroelectric Project No. 12514 (Norway-Oakdale Project), located on the Tippecanoe
River in Carroll and White Counties, Indiana. 2 As required by license Article 405,
NIPSCO proposes to modify the interim definition of “abnormal river conditions” in
license Article 403.

2.     As discussed in this order, we approve NIPSCO’s proposed definition of
“abnormal river conditions” and amend the project license accordingly. We also approve
a revised Project Operation and Compliance Plan and terminate a temporary variance.




      1
        On March 12, 2018, Commission staff approved a transfer of the license from
Northern Indiana Public Service Company to Northern Indiana Public Service Company
LLC. Staff acknowledged receipt of the signed acceptance sheets on June 6, 2018.
      2
       NIPSCO made supplemental filings in 2015 on January 26, January 29,
February 6, May 1, May 7, June 3, and November 6, and then a supplemental filing on
August 29, 2016.




                                                                            Attachment 1
USCA Case #19-1066        Document #1778708            Filed: 03/15/2019     Page 8 of 68
Project No. 12514-074                                                                  -2-

I.    Background

      A.     Project Description and Area

3.     On October 2, 2007, Commission staff issued a 30-year license to NIPSCO to
maintain and operate the Norway-Oakdale Project. 3 The project includes two
developments: the upper Norway development and the lower Oakdale development,
located along a 19-mile segment of the Tippecanoe River.

4.      The Norway development has been operating since 1923 and includes: a 915-
foot-long dam, a powerhouse equipped with four generating units with a total authorized
installed capacity of 7.2 MW, and the 1,291-acre Lake Shafer, which extends 10 miles
upstream of Norway dam. The Oakdale development has been operating since 1925 and
includes: a 1,688-foot-long dam, a powerhouse equipped with three generating units with
a total authorized installed capacity of 9.2 MW, and the 1,547-acre Lake Freeman, which
extends 10 miles upstream of Oakdale dam.

5.     Of the land within the project boundary, NIPSCO owns in fee only those lands
under the dam structures, lands needed to access project facilities, and lands upon which
certain NIPSCO buildings are located (approximately one percent of project lands).
NIPSCO holds a prescriptive easement over the remaining lands which are owned in fee
by the Shafer and Freeman Lakes Environmental Conservation Corporation
(Conservation Corporation) and approximately 4,300 private property owners. 4

      B.     Project Operation

6.     License Article 403 requires NIPSCO to operate both developments, to the
maximum extent practicable, in an instantaneous run-of-river mode such that the outflow
from the Norway dam approximates the sum of inflows to Lake Shafer and the outflow

      3
         Northern Ind. Pub. Serv. Co., 121 FERC ¶ 62,009 (2007). Although the
Commission in 1921 and again in 1980 determined that the project was not required to be
licensed, id. P 36, staff reversed this finding in 2000, based on a new navigation report
which showed that the project is located on a navigable waterway. Northern Ind. Pub.
Serv. Co., 92 FERC ¶ 62,258 (2000). The licensee did not object to this finding and
thereafter applied for a license.
      4
         NIPSCO conveyed its ownership of these lands in 1995, after the Commission
had concluded that the project was not required to be licensed. Because of this, while the
Commission typically requires a licensee to hold title to the lands that comprise the
project reservoir, the license order did not require NIPSCO to reacquire title to the
reservoir lands. Northern Ind. Pub. Serv. Co., 121 FERC ¶ 62,009 at P 40.




                                                                                Attachment 1
USCA Case #19-1066        Document #1778708            Filed: 03/15/2019     Page 9 of 68
Project No. 12514-074                                                                  -3-

from the Oakdale dam approximates the sum of inflows to Lake Freeman. Further,
Article 403 requires NIPSCO to maintain Lake Shafer within 0.25 feet above and below
elevation 647.47 feet National Geodetic Vertical Datum (NGVD) and Lake Freeman
within 0.25 feet above and below elevation 612.45 feet NGVD. 5

7.     Article 403 provides that NIPSCO may temporarily modify run-of-river operations
and reservoir elevations during “abnormal river conditions,” which Article 403 defines as
conditions with river flows of 3,000 cubic feet per second (cfs) or higher, or an hourly
increase in river flow of 100 cfs or greater at both project dams. During such conditions,
NIPSCO must at all times maintain Lake Shafer within 0.75 feet above and 0.25 feet
below elevation 647.47 feet NGVD, and Lake Freeman within 0.75 feet above and 0.25
feet below elevation 612.45 feet NGVD. Article 403 does not allow the licensee to
temporarily modify operations during low-flow conditions without the Commission
granting a variance.

8.     The current definition of “abnormal river conditions” is an interim definition.
License Article 405 provides that, within five years of license issuance, NIPSCO must
propose a permanent definition of “abnormal river conditions” developed in consultation
with the U.S. Fish and Wildlife Service (FWS) and the Indiana Department of Natural
Resources (Indiana DNR).

9.     In addition, NIPSCO operates its project in compliance with its approved Project
Operation Compliance Plan required by license Article 404, the reservoir drawdown rates
required by license Article 406, and the approved tailwater rampdown rates set forth in
license Article 408. 6



      5
         In its original licensing proceeding, NIPSCO provided information suggesting
that the type and age of the equipment at the Norway and Oakdale developments limits
the degree to which NIPSCO can minimize impoundment and tailwater fluctuations, and
operate in an instantaneous run-of-river mode. See Commission staff’s February 16,
2007 final Environmental Assessment (EA) for licensing the project at 25-27.
Article 403 recognized this in requiring that the project operate in a manner that
approximates instantaneous run-of-river operation and allowing the reservoirs to be
maintained within 0.25 feet above or below the specified elevations. See 121 FERC
¶ 62,009 at P 29.
      6
        See Northern Ind. Pub. Serv. Co., 124 FERC ¶ 62,135 (2008) (Order Approving
Project Operation Compliance Plan Under Article 404); Northern Ind. Pub. Serv. Co.,
127 FERC ¶ 62,050 (2009) (Order Modifying and Approving Tailwater Rampdown
Monitoring Plan Pursuant to Article 408).




                                                                               Attachment 1
USCA Case #19-1066          Document #1778708           Filed: 03/15/2019    Page 10 of 68
Project No. 12514-074                                                                    -4-

        C.       NIPSCO’s Requests for a Temporary Variance of Run-of-River
                 Operation and Lake Elevations

10.     During the summer of 2012, northern Indiana experienced a severe drought, which
caused low flows in the Tippecanoe River. In July, FWS and Indiana DNR observed
mussel mortality in the Tippecanoe River downstream of the Oakdale dam, including the
sheepnose, clubshell, and fanshell species, which were federally-listed as endangered
under the Endangered Species Act (ESA), and the rabbitsfoot, which was unlisted at that
time. 7 Shortly thereafter, FWS recommended that NIPSCO release a minimum flow of
200 cfs from the Oakdale dam to avoid take of the federally-listed mussels. 8

11.   While maintaining the FWS-recommended 200-cfs flow, NIPSCO fell out of
compliance with license Article 403 by allowing outflows from Oakdale dam to exceed
inflows to Lake Freeman, which caused the surface elevation of Lake Freeman to fall
below 612.20 feet NGVD. Consequently, on August 3, 2012, NIPSCO requested a
temporary variance of license Article 403 from July 1 through December 1, 2012, or until
drought conditions improved sufficiently to resume normal operations. 9 On October 4,
2012, Commission staff approved NIPSCO’s request for a temporary variance. 10

12.     On November 28, 2012, NIPSCO requested an extension of its temporary
variance, explaining that severe drought and historic low-flow conditions continued to
persist in the region. On April 22, 2013, Commission staff granted NIPSCO’s request
which extended the variance until December 1, 2013. 11

13.    During the summer of 2013, mussel kills continued downstream of the Oakdale
dam. On September 17, 2013, NIPSCO requested an extension of time to comply with
Article 405’s requirement to develop a permanent definition of “abnormal river




        7
            Rabbitsfoot mussels were listed as threatened under the ESA on September 17,
2013.

        FWS’s July 10, 2012 Filing. The term “take” means to harass, harm, pursue,
        8

hunt, shoot, wound, kill, trap, capture, or collect, or attempt to engage in any such
conduct. 16 U.S.C. § 1532(19) (2012).
        9
            NIPSCO August 3, 2012 Filing.
        10
             Northern Ind. Pub. Serv. Co., 141 FERC ¶ 62,012 (2012).
        11
             Northern Ind. Pub. Serv. Co., 143 FERC ¶ 62,043 (2013).



                                                                                Attachment 1
USCA Case #19-1066         Document #1778708            Filed: 03/15/2019      Page 11 of 68
Project No. 12514-074                                                                    -5-

conditions.” 12 After conducting a systematic analysis of downstream conditions, FWS
determined that a 200 cfs discharge from Oakdale dam was no longer sufficient to
prevent a taking of endangered mussels downstream of the dam, and stated that NIPSCO
would instead be required to ensure a 500-cfs flow at the U.S. Geological Survey
(USGS) 13 Delphi gage, 11 miles downstream of the Oakdale dam. 14

14.    NIPSCO estimated that, in order to ensure a 500 cfs flow at the Delphi gage, it
would need to release a minimum flow of 450 cfs from Oakdale dam, and on
December 11, 2013, requested a temporary variance in order to do so. Throughout 2014,
NIPSCO worked with the resource agencies to test various operational scenarios to find
an approach to augment low flows that was acceptable to FWS but would also prevent
significant drawdowns in Lake Freeman, a popular destination for summer recreation and
tourism. On April 30, 2014, NIPSCO requested an amendment to its temporary variance
to allow it to release any minimum flow from the Oakdale dam necessary to ensure flows
of 500 cfs at the Delphi gage.

15.    In July and August 2014, flows in the Tippecanoe River declined and NIPSCO’s
releases to ensure a 500 cfs minimum flow for mussels began drawing down Lake
Freeman. By August 7, NIPSCO had drawn down Lake Freeman by 15 inches. 15 On
August 11, NIPSCO requested an additional amendment to its December 2013 temporary
variance in order to estimate downstream flows using the USGS Oakdale gage, located
0.25 miles downstream of the Oakdale dam, instead of the Delphi gage, to provide a more
accurate reading.

16.    On August 13, 2014, FWS issued a Technical Assistance Letter (Assistance
Letter) to NIPSCO, identifying dam operation measures that FWS stated would mimic
natural run-of-river conditions in order to avoid project-induced take of federally-listed



       12
         In 2013, NIPSCO also requested additional time to comply with license
Article 411, which required it to file a Mussel Enhancement Plan. NIPSCO filed that
plan on January 29, 2015. The Commission will act on that plan once this proceeding has
been concluded.
       13
          The USGS operates stream gages nationwide as part of its National Streamflow
Network to provide consistent streamflow information to meet local, tribal, State,
regional, and national needs.
       14
            See NIPSCO’s October 3, 2014 Filing at 2.
       15
         NIPSCO August 7, 2014 Letter and Incident Report Relating to Lake Freeman
Elevation Levels.




                                                                                  Attachment 1
USCA Case #19-1066          Document #1778708             Filed: 03/15/2019   Page 12 of 68
Project No. 12514-074                                                                    -6-

mussels and avoid adverse modification of critical habitat attributable to project
operation. 16

17.    On August 15, NIPSCO requested an additional amendment to its temporary
variance to release a minimum flow in accordance with procedures identified in the
Assistance Letter. On August 22, Commission staff granted the temporary variance,
which has remained in effect pending disposition of the license amendment application
before us. 17

18.    On October 2, 2014, as required by license Article 405, NIPSCO filed a license
amendment application proposing a modified definition of “abnormal river conditions”
consistent with the Assistance Letter. In addition, NIPSCO filed an amended Project
Operation Compliance Plan required by license Article 404.

       D.       Technical Assistance Letter and NIPSCO’s Modified Definition of
                “Abnormal River Conditions”

19.    FWS explained that it developed the Assistance Letter to identify project
operations that would create natural run-of-river flows and preclude large flow variations
during periods of low flow. 18 FWS found that existing project operations have caused
flows downstream of the project to vary significantly from flows upstream of the project,
often by several hundred cfs in the span of 24 to 48 hours, and states that federally-listed
mussels are poorly adapted to such flow variations, especially during low to moderate
flow conditions.

20.    The Assistance Letter sets forth an abnormal low-flow plan that is triggered by an
abnormal low-flow event, which the letter defines as occurring when the 24-hour daily
average flow is equal to or less than 300 cfs at the USGS Winamac gage, located 30 river
miles upstream of the Norway dam and 45 river miles upstream of the Oakdale dam, or is
equal to or less than 570 cfs at the Oakdale gage, located 0.25 miles downstream of the
Oakdale dam. When an abnormal low-flow event occurs, the abnormal low flow plan
requires NIPSCO to stop generation at the Oakdale development and release 1.9 times the

       16
          FWS issued three clarifications to the Assistance Letter filed with the
Commission on October 2, 2014 (clarifying flows that trigger and terminate an abnormal
low-flow event); November 6, 2015 (addressing gage malfunctions); and June 7, 2016
(clarifying that NIPSCO was not required to release more than 500 cfs from the Oakdale
dam).
       17
            Northern Ind. Pub. Serv. Co., 148 FERC ¶ 62,156 (2014).
       18
            The Assistance Letter is set forth in Appendix B to this order.




                                                                                  Attachment 1
USCA Case #19-1066        Document #1778708            Filed: 03/15/2019    Page 13 of 68
Project No. 12514-074                                                                  -7-

flow of the previous 24-hour daily average flow measured at the Winamac gage, or
500 cfs, whichever is less. The abnormal low-flow event ends when the 24-hour daily
average flow is greater than 300 cfs at the Winamac gage and greater or equal to 500 cfs
at the Oakdale gage. The Assistance Letter does not affect operations at the Norway
development.

21.    FWS states that it selected the trigger flows and downstream flow requirements for
abnormal low-flow conditions by using linear scaling. 19 Linear scaling is commonly
used as a proxy for discharge, based on the assumption that discharge increases as
drainage basin area increases. 20 Some academic research has shown that discharge
appears to scale (increase or decrease) linearly or nearly linearly with drainage area in
basins with uniform hydrology (e.g., precipitation and runoff generation). 21 In this
instance, the drainage area at the Oakdale gage is 1,790 square miles, which is 1.9 times
as large as the drainage area at the upstream Winamac gage, 942 square miles. Thus,
FWS assumes that natural flows at Oakdale should be 1.9 times the existing flow at the
Winamac gage.

22.    FWS explains that it used the Winamac gage to set trigger flows and approximate
natural flows because it is the closest upstream gage that is unaffected by the project.
However, NIPSCO, FWS, and USGS have been working to bring a new gage on line at
Buffalo Bridge, approximately 12.5 miles upstream of Lake Shafer and 34.9 miles
upstream of the Oakdale dam. By using a gage at Buffalo Bridge, NIPSCO states that it
would be able to approximate flows at a point that is not subject to potential water
withdrawals that occur between the Winamac and Buffalo Bridge gages. 22

23.     On October 2, 2014, in order to implement the Assistance Letter and the abnormal
low flow plan, NIPSCO proposed to modify the definition of “abnormal river conditions”
in license Article 403 to the following:


      19
          See EA at 42. Linear scaling is a method of estimating stream flow at an
ungaged stream site with a known drainage area based on flows measured at a gaged site
with a known drainage area. The method assumes that the only factor affecting flows
between the two sites is the size of the drainage areas. The method is also known as the
drainage area ratio method. A linear relationship is shown by a straight line, as opposed
to other types of relationships (e.g., exponential or logarithmic).
      20
           See FWS’s August 13, 2014 Filing at 3.
      21
        See Joshua Galster, Natural and anthropogenic influences on the scaling of
discharge with drainage area for multiple watersheds, GEOSPHERE, August 2007, at 260.
      22
           See NIPSCO’s October 2, 2014 Application at 6.



                                                                               Attachment 1
USCA Case #19-1066       Document #1778708             Filed: 03/15/2019        Page 14 of 68
Project No. 12514-074                                                                    -8-

             Conditions with river flows of 3,000 cubic feet per second
             (cfs) or higher; hourly increases in river flow of 100 cfs or
             greater at both project dams; a 24-hour daily average of river
             flow of ≤ 300 cfs as measured at the USGS Winamac gage; in
             the event of an equipment or operation issue at Oakdale
             unrelated to weather conditions upstream, a 24-hour daily
             average of river flow of ≤ 570 cfs at the USGS Oakdale gage;
             or a 24 hour daily average of river flows of ≤ 410 cfs at the
             NIPSCO Buffalo Bridge gage. Under “abnormal river
             conditions,” as defined by river flow, the licensee shall at all
             times act to maintain the fluctuation of the reservoir surface
             elevation within 0.75 feet above (rather than 0.25 feet under
             normal conditions) and 0.25 feet below elevation 647.47 feet
             NGVD for Lake Shafer and 0.75 feet above 612.45 feet
             NGVD for Lake Freeman.

24.   NIPSCO does not propose a minimum elevation for Lake Freeman during
abnormal flow conditions.

II.   Notice, Interventions, and Comments

      A.     Notice of the Application

25.    On February 12, 2015, Commission staff issued a notice of NIPSCO’s application,
establishing March 16, 2015, as the deadline for filing comments, motions to intervene,
and protests, which staff extended to April 15, 2015, and thereafter to May 15, 2015. The
Conservation Corporation, together with Carroll and White counties and the City of
Monticello (collectively, the Protest Coalition); and Brett Longenecker filed timely,
unopposed motions to intervene. 23

26.    A few individuals filed comments supporting the amendment, and a number filed
comments in opposition, requesting that the Commission require NIPSCO to maintain
current operations. Many commenters indicate that they experienced the August 2014
drawdown of Lake Freeman and express concern that NIPSCO’s proposed amendment
would similarly result in drawdowns during future regional droughts. They argue that
such drawdowns hinder recreational access to watercraft and to the lake, which is a
popular destination during the summer recreation season. They also maintain that
drawdowns damage shoreline structures, expose the muddy lake bottom, affect aquatic
wildlife, and release noxious odors from decaying aquatic life. They argue that such


      23
         Timely, unopposed motions to intervene are granted by operation of Rule 214(c)
of the Commission’s Rules of Practice and Procedure. 18 C.F.R. § 385.214(c) (2017).



                                                                                  Attachment 1
USCA Case #19-1066        Document #1778708            Filed: 03/15/2019     Page 15 of 68
Project No. 12514-074                                                                   -9-

effects negatively impact property values, seasonal recreation, and tourism, on which
they state the local economy and tax base depend.

27.     The Protest Coalition filed comments arguing that the existence of the Oakdale
development does not alter the natural flow of the Tippecanoe River during periods of
low flow and that it is inappropriate to use a linear scaling method to approximate natural
flows downstream of the Oakdale dam. In support, the Protest Coalition filed two reports
by hydrologists Dr. Bernard Engel and Dr. Robert Criss, which assert that the best
available science demonstrates that the Oakdale dam does not alter the natural flows, and
therefore does not harm mussels; that linear scaling cannot predict natural flows; and that
FWS has misapplied linear scaling in this case. Based on these reports, the Protest
Coalition asserts that FWS’s use of linear scaling does not satisfy the ESA’s best
available science standard or the Federal Power Act’s substantial evidence standard.
Accordingly, the Protest Coalition requests that the Commission not defer to the FWS’s
linear scaling method, deny the application for amendment, rescind the temporary
variance, and direct that operations of the dams resume as required by the 2007 license
until NIPSCO develops what FWS considers a valid definition of “abnormal river
conditions.”

       B.     Request for Public Hearing

28.     The Protest Coalition requested a public hearing to conduct discovery into the
development of the proposed license amendment and the Assistance Letter, and to
present the testimony of its hydrology experts. We believe that the record is sufficiently
well-developed in this matter that a public hearing is not necessary. Commission staff
held a publicly-noticed technical conference on May 10, 2016, to solicit comments on
staff’s draft EA and on the various hydraulic analyses and expert opinions available. The
Protest Coalition had an opportunity to present its analysis and to ask the FWS questions
regarding the methods of its Assistance Letter during the technical conference. We
therefore deny the request for a public hearing.

III.   Environmental Assessment

29.    On October 9, 2015, Commission staff issued a draft EA. The draft EA evaluated
the proposed action (to implement the Assistance Letter by adopting the definition of
abnormal river conditions described in P 23, above); the no-action alternative, in which
project operations would not change; and staff’s alternative, described in detail below,
under which NIPSCO would not release minimum flows that exceed inflow. As part of
its EA, Commission staff prepared a hydrologic and hydraulic study report which
examined the Tippecanoe River system in the vicinity of the project in order to evaluate
the adequacy and availability of water downstream of Oakdale dam to provide protective
flows for federally-listed mussels.




                                                                                Attachment 1
USCA Case #19-1066           Document #1778708         Filed: 03/15/2019     Page 16 of 68
Project No. 12514-074                                                                 -10-

30.     The draft EA found that NIPSCO’s proposed action would overestimate inflows to
Lake Freeman because it was based on the linear scaling method using data from the
Winamac gage, located 45 miles upstream from the Oakdale dam, and, as a result, did not
account for local hydrologic events, including groundwater inflows, stormwater runoff,
evaporation, tributary inflows, changes in the accuracy of flow measurements over time,
or lag time for measured flows to reach the project. 24 Staff determined that
overestimating inflows to Lake Freeman would not represent run-of-river conditions and,
when combined with removal of the lower lake-level restriction for Lake Freeman that
exists under normal operating conditions, could draw down Lake Freeman by 12 feet or
more. 25

31.    The staff alternative separately defines abnormal high flows and abnormal low
flows. Under the staff alternative, abnormal low flows would be triggered by the same
flows as provided in the proposed amendment and Assistance Letter; however, NIPSCO
would not have to release minimum flows that exceed inflow, thus causing Lake Freeman
to drop. Rather, the staff alternative would require the licensee to cease generation at
both developments and operate the gates to maintain Lakes Schafer and Freeman at the
levels where they were when generation ceased. Once a triggering event occurs,
outflows would equal inflows and storage in Lake Freeman would not be called upon to
augment low flows downstream of Oakdale dam.

32.     The draft EA found that Commission staff’s alternative would reduce adverse
effects of project operations on endangered mussels by requiring that lake levels be held
constant during abnormal low-flow conditions. This, the draft EA explained, may
slightly enhance conditions for listed mussels downstream of the project compared to
current conditions, by mimicking the natural hydrology of the river and by reducing rapid
flow fluctuations that can adversely affect downstream mussels and subject them to
stranding, desiccation, and predation, while protecting the numerous resources of Lake
Freeman that depend on stable lake levels. 26 Accordingly, the draft EA recommended the
staff alternative.

33.     NIPSCO, the Protest Coalition, FWS, Indiana DNR, and the U.S. Environmental
Protection Agency (EPA) filed comments on the draft EA. NIPSCO commented that the
staff alternative is not operationally feasible, because the equipment at the dam was not
designed, nor can it be modified, to maintain consistent reservoir elevations. The Protest
Coalition agrees with the staff alternative, finding that the science does not support the

      24
           Draft EA at 65.
      25
           Id. at 69.
      26
           Id. at 80.




                                                                                Attachment 1
USCA Case #19-1066            Document #1778708            Filed: 03/15/2019    Page 17 of 68
Project No. 12514-074                                                                   -11-

use of linear scaling. Indiana DNR and FWS disagree with the staff alternative, stating
that it is not feasible for NIPSCO to maintain a static lake level and release a
comparatively consistent hourly or daily flow downstream of the dam.

34.     The Office of Indiana’s Lieutenant Governor filed a report on February 16, 2016,
that assesses whether low-flow conditions developed by the FWS are compatible with
power production and recreational uses of the lake. 27 The report finds that the linear
scaling method recommended by FWS overestimates low flows and will result in flow
exceeding natural conditions. Further, the report states that Commission staff’s proposal
would result in flows that are similar to natural conditions and is the best practical
method to ensure flows are available to maintain downstream habitat for federally-listed
species.

35.    As discussed above, Commission staff conducted a publicly-noticed technical
conference on May 10, 2016, to discuss the proposed operational changes; the hydraulic
analyses performed by NIPSCO, Commission staff, and the Protest Coalition; alternatives
to NIPSCO’s proposal; and Commission staff’s analysis in the draft EA. Along with
Commission staff, NIPSCO, FWS, and the Protest Coalition participated in the
conference. Thereafter, NIPSCO, FWS, and the Protest Coalition met on multiple
occasions to discuss methods for approximating natural run-of-river flows and
minimizing flow variability. The parties did not reach an agreement.

36.    On November 10, 2016, Commission staff issued a final EA, recommending a
modified staff alternative that requires, under abnormal low-flow conditions, that
NIPSCO “immediately cease generation at the Oakdale [d]evelopment and at all times act
to maintain the reservoir elevation at Lake Freeman at elevation 612.20 feet NGVD.” 28
Staff also requested concurrence from FWS that the staff alternative was not likely to
adversely affect federally-listed mussels or adversely modify designated critical habitat.
FWS and the EPA filed comments on the final EA. EPA recommended the Commission
coordinate with the FWS, clarify whether impacts to mussels would be significant, and
assess whether the operation of the project would be resilient to changing climate
conditions. As discussed more fully below, FWS did not concur with Commission staff’s
ESA finding and requested additional information to prepare its biological opinion.




         27
              The Indiana Lieutenant Governor’s report was part of a larger water use
study.

         Final EA at 17 (all further references in this order to the EA are to the final EA,
         28

unless otherwise noted).




                                                                                   Attachment 1
USCA Case #19-1066          Document #1778708            Filed: 03/15/2019     Page 18 of 68
Project No. 12514-074                                                                    -12-

IV.    Discussion

       A.       Threatened and Endangered Species

37.    Section 7(a)(2) of the Endangered Species Act of 1973 29 requires federal agencies
to ensure that their actions are not likely to jeopardize the continued existence of
federally-listed threatened and endangered species, or result in the destruction or adverse
modification of their designated critical habitat. Federal agencies implement this
requirement in consultation with FWS (or the National Marine Fisheries Service, as
appropriate). The action agency (the Commission) analyzes the proposed action and
determines whether it may affect listed species. If the Commission finds that its
proposed action is “not likely to adversely affect” the species or its habitat, it requests
concurrence from the consulting agency (in this case, FWS). If FWS concurs in writing,
informal consultation is sufficient and no further action is required. 30 Otherwise, formal
consultation is required and FWS prepares a biological opinion on the proposed action.
Depending on the circumstances, a biological opinion may include reasonable and
prudent alternatives to avoid jeopardy, reasonable and prudent measures to avoid or
minimize incidental taking of the species, and terms and conditions to implement those
measures. 31

38.     Seven federally-listed mussel species and two federally listed mammals are known
to occur in the Norway-Oakdale Project vicinity, including: the endangered Northern
riffleshell, clubshell, rayed bean, sheepnose, snuffbox, and fanshell mussels; the
threatened rabbitsfoot mussel; the endangered Indiana bat; and the threatened northern
long-eared bat. 32 FWS designated critical habitat for the rabbitsfoot mussel in September
2013, covering a 47-mile reach of the Tippecanoe River from Indiana Highway 14 near
the Town of Winamac in Pulaski County, Indiana, downstream to its confluence with the
Wabash River northeast of Battle Ground in Tippecanoe County, Indiana. However, this

       29
            16 U.S.C. § 1536(a) (2012).
       30
            See 50 C.F.R. § 402.13(a) (2017).
       31
         Section 9 of the ESA, 16 U.S.C. § 1538 (2012), makes it unlawful for any
person to “take” an individual member of a listed fish or wildlife species, unless
authorized pursuant to an incidental take statement in a biological opinion issued
following formal consultation, or in accordance with an incidental take permit issued
under ESA section 10, 16 U.S.C. § 1539 (2012). “Take” is defined as “to harass, harm,
pursue, hunt, shoot, wound, kill, trap, capture, or collect, or to attempt to engage in any
such conduct.” 16 U.S.C. § 1533(19) (2012).
       32
            EA at 5.




                                                                                  Attachment 1
USCA Case #19-1066            Document #1778708           Filed: 03/15/2019     Page 19 of 68
Project No. 12514-074                                                                     -13-

designated critical habitat excludes Lakes Shafer and Freeman and the reach of the
Tippecanoe River between the two lakes. FWS has also designated critical habitat for the
Indiana bat, but no areas were designated for Carroll or White counties, where the project
is located. 33

39.    In the draft EA, Commission staff determined that its alternative would have no
effect on the northern long-eared bat, or the Indiana bat and its designated critical habitat,
because those species have not been identified in the vicinity of the proposed project. 34
Therefore, no further action under the ESA is required for these species.

40.     The draft EA concluded that amending the Norway-Oakdale Project license as
proposed by staff (i.e., with the staff-recommended alternative) is not likely to adversely
affect listed mussels or adversely modify designated critical habitat for mussels. On
October 16, 2015, staff requested concurrence from FWS. On November 6, 2015, FWS
declined to consider staff’s request for concurrence until staff addressed what it described
as misinterpretations and inadequacies of the draft EA.

41.     On November 10, 2016, Commission staff issued a final EA that slightly modified
the staff alternative to exclude Lake Shafer from staff’s recommended alternative and
again requested concurrence that the alternative was not likely to adversely affect listed
mussels or adversely modify designated critical habitat. In the event that the FWS did
not concur, staff requested formal consultation and stated that its final EA would serve as
the Commission’s biological assessment. By letter dated December 9, 2016, FWS stated
it did not concur with Commission staff’s finding and requested additional information to
prepare its biological opinion. 35 On February 16, 2017, staff provided FWS with the
requested additional information and asked for formal consultation.

42.     On July 6, 2017, the FWS issued a biological opinion for the modified staff
alternative. The biological opinion concurs that the staff alternative is not likely to
adversely affect the rayed bean and snuffbox mussels, because it is unlikely those species
still occur downstream of the project. 36 Further, the biological opinion concludes that the
staff alternative is not likely to jeopardize the continued existence of the clubshell,




       33
            Id.
       34
            Draft EA at 64.
       35
            See FWS’s December 9, 2016 filing.
       36
            FWS’s July 5, 2017 Biological Opinion at 2.




                                                                                   Attachment 1
USCA Case #19-1066        Document #1778708             Filed: 03/15/2019     Page 20 of 68
Project No. 12514-074                                                                     -14-

fanshell, sheepnose, and rabbitsfoot mussels, and is not likely to destroy or adversely
modify designated rabbitsfoot critical habitat. 37

43.    The biological opinion includes an incidental take statement, with one reasonable
and prudent measure to avoid or minimize incidental take, and two terms and conditions
to implement that measure. The reasonable and prudent measure is to minimize take of
listed mussels by restoring what FWS considers to be a more natural flow regime
downstream of Oakdale dam during low-flow periods. To implement the reasonable and
prudent measure, the terms and conditions require the adoption of NIPSCO’s proposed
license amendment and implementation of the Assistance Letter, as clarified,
and replacement of readings from the Winamac gage with those from the Buffalo Bridge
gage, once that gage is operational.

44.    As discussed below, the modified incidental take statement, reasonable and
prudent measures, and terms and conditions are incorporated into the license by ordering
paragraph (D) and are attached to this order as Appendix A. 38

              1.     Terms and Conditions

                     a.     Implement the Terms of the Assistance Letter

45.     Article 403 requires NIPSCO to operate the project in an instantaneous run-of-
river mode and allows for a fluctuation of lake levels of 0.25 feet above and below a
target elevation (647.47 feet NGVD for Lake Shafer and 612.45 feet NGVD for Lake
Freeman). NIPSCO is required to minimize the fluctuation of the two reservoirs’ surface
elevations by maintaining discharges from the project so that, at any point in time, flows,
as measured immediately downstream from the project tailraces approximate the sum of
inflows to the project reservoirs. For both developments, river flow must be passed on an
instantaneous basis at times when the turbines are not in operation. FWS asserts that this
mode of operation, in conjunction with low flows during the drought of 2012, adversely
affected aquatic habitat and resulted in mussel kills downstream of Oakdale dam.



       37
         EA at 64. In a 2008 comment letter, FWS stated that northern riffleshell
mussels are not known to be extant in the Tippecanoe River.
       38
         The incidental take statement states that the Commission must comply with the
terms and conditions that are needed to implement the reasonable and prudent measures
to avoid or minimize incidental take. This is incorrect. The Commission must determine
whether to make the terms and conditions part of the license, but it is the licensee that
must comply with them.




                                                                                 Attachment 1
USCA Case #19-1066         Document #1778708           Filed: 03/15/2019     Page 21 of 68
Project No. 12514-074                                                                 -15-

46.    FWS states that under the Commission staff’s alternative, during the late summer
and early autumn, when flows are often naturally low, the quantity of water released from
Oakdale dam would not match the flows that FWS has determined would best mimic the
natural flow of the river (i.e., the linearly-scaled flow measured at the Winamac Gage).
Rather, FWS states that the best way to protect mussel populations is to maintain run-of-
river operations at the Oakdale development using linear scaling.

47.     In developing its biological opinion, FWS examined NIPSCO’s elevation data for
Lake Freeman during droughts in 1988 and 2012, which it states were comparable. 39
FWS explained that, while many other Indiana reservoirs approached record low levels
during the 1988 drought, Lake Freeman never varied more than 0.14 inch from the design
pool of 610.35 feet. 40 FWS states that since the elevation of Lake Freeman remained
static during both the 1988 and 2012 droughts, it is logical to assume that downstream
flows were curtailed in 1988 as they were in 2012 in order to achieve lake level stability.
FWS explained that a 1990 survey of the Tippecanoe River observed very few mussels
downstream of Oakdale dam, stating that “riffles in these areas supported very few
mussels, possibly because they are intermittently exposed when little water is released
from the reservoirs.” 41

48.      FWS maintains that, since construction of the dams, artificially-reduced flows
downstream of Oakdale dam have occurred many times as a result of the management of
flows to maintain precise lake levels, and that Commission staff’s alternative would lead
to similar results. FWS explains that the probability of mussel mortality linked to dam
management is likely to increase with the duration of the natural low-flow period, and
that it is essential to the protection of mussels that the Norway-Oakdale Project be
managed to avoid even brief episodes of inadequate flow downstream of Oakdale dam. 42

49.    FWS states that, since August 2014, NIPSCO has demonstrated that it can
implement the terms of the Assistance Letter with minimal effects to overall project
operations. As a result, FWS concludes that it continues to support the Assistance Letter
as the best currently-available approach to mimic natural flow downstream of the
Norway-Oakdale Project, and that this approach will minimize mortality of listed mussels
by approximating what would occur naturally during low-flow events.


       39
            FWS’s July 5, 2017 Biological Opinion at 19.
       40
            Id.
       41
            Id. at 20.
       42
            Id.




                                                                                Attachment 1
USCA Case #19-1066            Document #1778708         Filed: 03/15/2019      Page 22 of 68
Project No. 12514-074                                                                   -16-

50.     At issue is a difference of opinion regarding how best to approximate run-of-river
operations at the Oakdale development. Although FWS believes its method would best
mimic natural flows in the river, thereby minimizing adverse effects to mussels that FWS
attributes to project operation, Commission staff concludes that allowing the reservoir to
be drawn down during low-flow periods is not consistent with run-of-river operations and
would provide greater flows than would otherwise occur naturally. As a result, the
project will be required to supplement natural flows, with negative effects on other
resources. 43

51.     As discussed in the final EA, staff’s analysis indicates that several factors are
likely to impede the effectiveness of the Assistance Letter protocols in achieving its
stated purpose. These factors relate primarily to inaccuracies associated with estimating
inflows to the project using data from a stream gage that is located 45 miles upstream
from the project, including changes in the accuracy of flow measurements over time, lag
time for the measured flows to reach the project, and the influence of local hydrologic
events. All of these factors could contribute to flow releases that are not representative of
run-of-river conditions. 44 Although not labelled as such, the 1988 data that FWS used to
develop its biological opinion consist of mean values for daily flow, generation, and lake
elevation. 45 Because these values represent averages over a 24-hour period, we do not
believe they are useful to determine conditions at any given instant. 46 Rather, over time
the use of these values would lead to drawdowns of Lake Freeman, because the linear
scaling approach recommended by FWS fails to consider water losses from withdrawals
and evaporation between the Winamac and Oakdale gages.



       43
         NIPSCO recognized this difference of opinion in its August 31, 2017 comments,
requesting that the Commission and FWS work together to find a solution acceptable to
both agencies, so that it would not be placed “in the untenable position of choosing
between contradictory compliance requirements.” NIPSCO’s comments at 5 (filed
Aug. 31, 2017). Commission staff issued the temporary variance on August 22, 2014, to
eliminate the immediate situation of NIPSCO being subject to contradictory
requirements. By requiring that NIPSCO implement the incidental take conditions of the
biological opinion, we have eliminated that result long-term as well.
       44
            EA at v, 44-45.
       45
            Id. at Appendix 4.
       46
         For example, using 24-hour daily averages, it would be possible to obtain a
500 cfs average daily flow when, in fact, flows were 0 cfs for 12 hours and 1,000 cfs for
12 hours.




                                                                                  Attachment 1
USCA Case #19-1066          Document #1778708             Filed: 03/15/2019    Page 23 of 68
Project No. 12514-074                                                                   -17-

52.     Removal of the lower lake-level restriction for Lake Freeman would allow
NIPSCO to use storage from Lake Freeman to comply with the flow releases from
Oakdale dam required by the Assistance Letter. Analysis of historical flow records
provided in the final EA indicates that the potential exists for Lake Freeman to be drawn
down significantly during low flow periods to meet the flows required by the Assistance
Letter. These drawdowns would result in frequent and substantial adverse effects on
other environmental resources associated with Lake Freeman. The bathymetry of the
lake is such that, even a drawdown of about 1.5 feet in Lake Freeman as occurred in
August 2014 resulted in lake levels that: (a) prevented use of docks and boat lifts, thus
stranding boats above the water level; (b) caused boat ramp closures; (c) created unsafe
boating conditions; (d) created a noxious odor due to mortality of fish and mussels and
decay of exposed aquatic vegetation in the lake; (e) significantly diminished recreational
experiences; and (f) potentially endangered cultural resources present at the lake. 47 Staff
developed its recommended alternative definition of abnormal river conditions for
Article 403 to eliminate flow fluctuations associated with project operations during
periods of low flow, while avoiding these adverse effects of drawdowns.

53.      Despite these concerns, however, the ESA constrains our discretion to implement
staff’s recommended alternative. Staff’s approach reflects the Commission’s
responsibility under the FPA to strike an appropriate balance among competing
resources. The ESA is more narrowly focused on protecting threatened and endangered
species. Therefore, although we might ordinarily prefer staff’s alternative to balance
non-developmental and developmental uses under FPA section 10(a)(1), in this case the
ESA compels a different result. The Supreme Court has observed that, although a
biological opinion is theoretically advisory in nature, as a practical matter it “has a
powerful coercive effect on the action agency.” 48 This is particularly the case with
respect to measures in an incidental take statement. As noted earlier, ESA section 9
prohibits any taking of a listed species, except in compliance with an incidental take
statement included in a biological opinion after formal consultation. Violations of the
ESA, including the taking prohibition, present a risk of civil and criminal penalties,
including imprisonment. Although the Commission is ultimately responsible for
ensuring that its proposed actions comply with the ESA and thus may choose to disregard
the provisions of a biological opinion, the Supreme Court has recognized that an agency
does so “at its own peril (and that of its employees)” 49 As a result, the Commission
routinely treats the reasonable and prudent measures in an incidental take statement, and
the terms and conditions implementing those measures, as mandatory conditions and


       47
            EA at v.
       48
            Bennett v. Spear, 520 U.S. 154, 169 (1997).
       49
            Id. at 170.



                                                                                  Attachment 1
USCA Case #19-1066           Document #1778708           Filed: 03/15/2019     Page 24 of 68
Project No. 12514-074                                                                    -18-

includes them in the license. Therefore, because FWS made compliance with the terms
of the Assistance Letter an ESA reasonable and prudent measure, we will require it.

                        b.    Buffalo Bridge Gage

54.    In October 2014, NIPSCO installed a flow gage 12.5 miles upstream of the project
at Buffalo Bridge. FWS indicates in the Assistance Letter that it would be amenable to
using the Buffalo Bridge gage because of its proximity to the Oakdale dam, if it is
determined that flows can be reliably measured at that site. In 2016, however, USGS
determined that the gage location was not appropriate, and NIPSCO and the agencies are
considering alternative locations in the vicinity of Buffalo Bridge. 50

55.    In the EA, staff recommends requiring NIPSCO to continue to evaluate an
alternative gage site closer to the project than the Winamac gage in consultation with
FWS and USGS. Reducing the ratio between inflow to Lake Shafer and drainage area at
Oakdale dam would greatly increase the accuracy of the Assistance Letter methodology
for calculating daily downstream flows.

56.     Because the Buffalo Bridge gage is not currently in place, we cannot require
NIPSCO to use it. However, if USGS in the future determines that a new gage location
in the vicinity of Buffalo Bridge is appropriate, NIPSCO will have to work with the
FWS, as required by FWS’s terms and conditions, and replace readings from the
Winamac gage with those from the Buffalo gage as the key metric defined in the
Assistance Letter, upon authorization by the FWS.

                        c.    Conservation Measures

57.    FWS also included two conservation recommendations in its biological opinion.
Unlike the reasonable and prudent measure and its associated terms and conditions,
which are mandatory to avoid a prohibited taking under the ESA, conservation
recommendations are discretionary agency activities designed to minimize or avoid
effects to listed species or critical habitat, to help implement recovery plans, or to develop
information.

58.     The first conservation recommendation would require NIPSCO to minimize large
swings in discharges (greater than 150 cfs) from the Oakdale dam when flows are
between 300 and 525 cfs at the Winamac gage, except when swings are tied to natural
events. While NIPSCO may choose to implement this recommendation, we will not
require it. FWS provides no support for limiting the rate of downstream flow changes to
150 cfs or less within a 24-hour period, and doing so would constrain the licensee’s
ability to respond to changes in reservoir inflow. Moreover, staff’s analysis suggests that

       50
            EA at 27.



                                                                                   Attachment 1
USCA Case #19-1066          Document #1778708             Filed: 03/15/2019   Page 25 of 68
Project No. 12514-074                                                                  -19-

this measure would not provide any additional protection for listed mussels, because all
swings in discharges greater than 150 cfs would result from natural events.

59.    FWS’s second conservation recommendation would require NIPSCO to support
Indiana DNR and FWS in their annual monitoring of listed mussels downstream of the
Oakdale dam. Again, while NIPSCO may choose to implement this recommendation, we
will not require it. The recommended monitoring is for information only, and the
Commission generally prefers that monitoring inform a specific purpose, for example,
whether to make additional flow changes or whether a specific measure is effective. In
addition, this order adequately protects downstream mussels by requiring NIPSCO to
operate the project in accordance with the incidental take provisions of FWS’s biological
opinion. As a result, there is no need for additional monitoring.

       B.       Protest Coalition

60.    On October 3, 2017, the Protest Coalition filed comments challenging FWS’s
biological opinion, arguing that FWS did not formulate its reasonable and prudent
measure using the best scientific and commercial data available. In support, the Protest
Coalition argues that the studies on linear scaling that FWS relies on contain several
inaccuracies and errors, and do not support the use of linear scaling during periods of low
flow, but rather studied the effect of impervious surfaces on the rate of flow in two
watersheds during peak flows. 51 Further, the Protest Coalition maintains that FWS’s
biological opinion ignores reports by expert hydrologists criticizing the methodology and
assumptions of linear scaling, and a paper by the author of linear scaling discussing the
method’s limitations.

61.    The Protest Coalition also maintains that there will be no incidental take in
connection with implementing the Commission staff’s alternative, because mussel
mortality is frequently caused by naturally-occurring low flows unrelated to the Norway-
Oakdale Project. 52 Accordingly, the Protest Coalition alleges that there is no basis for
FWS to impose a reasonable and prudent measure on NIPSCO’s license.

62.    The Protest Coalition argues that FWS is not legally authorized to require
implementation of the proposed reasonable and prudent measure because it would result
in major changes to the Commission staff’s alternative. 53 It states that while FWS is
authorized to specify reasonable and prudent measures necessary to minimize impacts on

       51
            See Protest Coalition’s October 3, 2017 Filing at 9-10.
       52
            Id. at 11-13.
       53
            Id. at 15-16.




                                                                                Attachment 1
USCA Case #19-1066        Document #1778708            Filed: 03/15/2019     Page 26 of 68
Project No. 12514-074                                                                 -20-

an endangered species, those measures “cannot alter the basic design, location, scope,
duration, or timing of the action and may involve only minor changes” to the proposed
action. 54 The Protest Coalition maintains that the reasonable and prudent measure
constitutes a major change to staff’s alternative because the measure would allow
NIPSCO to draw down Lake Freeman by more than the 0.25 feet permitted by the current
license and release additional minimum flows downstream of Oakdale dam and adds that,
because FWS has exceeded its authority under 50 C.F.R. § 402.14, the Commission
cannot adopt FWS’s biological opinion. 55

63.    The Protest Coalition’s arguments do not persuade us to not rely on the FWS
biological opinion and adopt staff’s alternative. Although the Commission must make an
independent decision under the FPA as to what measures should be included in a license,
we are unlikely to contradict the consulting agency’s recommendations in the absence of
a showing that the biological opinion and the remainder of the record do not provide
substantial evidence to support them. The Protest Coalition has not made such a showing
here.

64.    Although FWS has stated that its goal is to mimic natural flows, this is not a
constraint; FWS has the discretion under the ESA to require that the project provide
additional flows to protect the mussels during times of low flow. Therefore, the fact that
FWS’s method would augment natural flows is not dispositive and would not provide us
with a basis for rejecting this approach.

65.    The areas of disagreement between the Protest Coalition and FWS concern the
nature and quality of the evidence on which FWS has relied and the ultimate conclusions
that may appropriately be drawn from that evidence. Staff’s analysis concurred with the
Protest Coalition’s hydrology experts, concluding that there are legitimate concerns with
the applicability of the linear scaling approach for use in determining low flow
requirements for the Norway-Oakdale Project. 56 However, these concerns are not
sufficient to lead us to reject FWS’s determination that additional flows are needed to
protect listed species. Nor would they provide any basis for rejecting FWS’s finding that
project operations can result in incidental taking of listed mussel species.

66.  We also disagree with the Protest Coalition’s assertion that implementation of
FWS’s proposed reasonable and prudent measure would result in major changes to the

       Id. at 15 (citing 50 C.F.R. § 402.14(v)(2); Westlands Water District v. U.S.
       54

Department of the Interior, 376 F.3d 853, 876 (9th Cir. 2004)).
       55
            Id. at 16.
       56
            EA at 45.




                                                                                Attachment 1
USCA Case #19-1066         Document #1778708            Filed: 03/15/2019      Page 27 of 68
Project No. 12514-074                                                                   -21-

staff alternative. We acknowledge that FWS’s reasonable and prudent measure would
result in lower reservoir levels during low flow periods. However, this approach is
designed to achieve the same purpose – to approximate run-of-river flow and protect
downstream mussel populations. In addition, it would not change the action’s basic
design, location, scope, duration, and timing. 57.

67.     The Protest Coalition requests that we review the validity of the biological
opinion, substituting our judgment for that of FWS, the agency that Congress has
determined in the ESA should be responsible for providing its expert opinion regarding
whether the license amendment is likely to jeopardize the continued existence of the
listed species, or to destroy or adversely modify its critical habitat. The Commission is
not responsible for reviewing the validity of the biological opinion. Rather, when a
biological opinion is prepared in the course of a Commission proceeding, the only means
of challenging its substantive validity is on judicial review of the Commission's decision
in the court of appeals. 58 Therefore, a reviewing court, and not the Commission, must
decide whether FWS considered the relevant factors and adequately explained its choices
in the biological opinion. 59

68.    As a licensing (or federal action) agency, our role is to ensure, in consultation with
FWS, that the proposed action will not result in jeopardy to the species or adverse
modification of its critical habitat. In this context, as noted earlier, the ESA exerts a
“powerful coercive effect” on agency action. An agency that proceeds with an action in a
manner that is inconsistent with the biological opinion runs the risk of having its action
found to be arbitrary, capricious, and contrary to law.

69.    We believe our reliance on the biological opinion is reasonable and appropriate.
The biological opinion includes a thorough analysis of the likely effects of implementing
the Assistance Letter on the clubshell, fanshell, sheepnose, riffleshell, rayed bean,
snuffbox, and rabbitsfoot mussels, and provides evidentiary support for the conditions
and measures to be implemented. We find nothing in the record to suggest that the

       57
          In contrast, the reasonable and prudent measure that was set aside in the
Westlands Water District case (n. 54 supra), on which the Protest Coalition relies,
potentially required reallocating hundreds of thousands of acre-feet of water, with wide-
ranging effects, and mandated new, significant action. That is not the case here. Further,
even if we were to conclude that the measure would result in a major change, we would
not reject it, because we treat the implementation of a reasonable and prudent measure as
nondiscretionary.
       58
            See City of Tacoma, Washington v. FERC, 460 F.3d 53, 75 (D.C. Cir. 2006).
       59
            United Water Conservation Dist., 129 FERC ¶ 61,244, at P 19 (2009).




                                                                                  Attachment 1
USCA Case #19-1066         Document #1778708              Filed: 03/15/2019      Page 28 of 68
Project No. 12514-074                                                                      -22-

biological opinion is fatally flawed or that we should not rely on it, as the Protest
Coalition argues. Moreover, the Commission may reasonably rely on the information
and analysis that FWS provides in matters involving listed species, and need not conduct
a detailed substantive review of a biological opinion before deciding whether to
implement its conditions in connection with a proposed action. 60 We may appropriately
rely on the opinion of FWS, and will satisfy our obligations under the ESA if the record
supports that reliance and if the Protest Coalition can point to no new information that
FWS did not take into account that would provide a basis for doubting that agency's
conclusions. 61

70.    The Protest Coalition’s October 3, 2017 filing provides no new arguments, and
FWS has had an opportunity to consider and respond to them. When urging an action
agency to reject a biological opinion, it does not suffice to relitigate factual issues that the
consulting agency already took into account. In these circumstances, the Commission
may appropriately rely on FWS’s biological opinion.

       C.       Amended Project Operation Compliance Plan

71.     NIPSCO’s October 2, 2014 amendment application also included an amended
Project Operation Compliance Plan pursuant to license Article 404. 62 Article 404
requires the plan to describe how NIPSCO would comply with the operational
requirements set forth in license Article 403. 63 At a minimum, the plan must include the
following provisions: (1) a description of all gages and other equipment, existing or to be
installed; (2) collection of lake level and tailwater discharge data on an hourly basis;
(3) procedures for recording, maintaining, and sharing project operation data; (4) a
method to independently verify lake elevations; (5) a gage calibration plan for all gaging
equipment included in the monitoring plan; and (6) a schedule for implementing the plan.
The plan must also include provisions for emergency notification and incident reporting.
On March 28, 2008, NIPSCO filed a Project Operation Compliance Plan that the
Commission approved on August 18, 2008. 64



        City of Tacoma, Washington, 109 FERC ¶ 61,198 (2004). See also City of
       60

Tacoma, Washington, 110 FERC ¶ 61,140 (2005).
       61
            See City of Tacoma, Washington, v. FERC, 460 F.3d at 75-76.
       62
            NIPSCO’s October 2, 2014 Application at Exhibit E.
       63
            Northern Ind. Pub. Serv. Co., 121 FERC ¶ 62,009.
       64
            Northern Ind. Pub. Serv. Co., 124 FERC ¶ 62,135.




                                                                                     Attachment 1
USCA Case #19-1066          Document #1778708           Filed: 03/15/2019     Page 29 of 68
Project No. 12514-074                                                                  -23-

72.     NIPSCO now proposes to amend its plan to include its proposed modified
definition of “abnormal river conditions.”

73.     We have reviewed the project license, as well as the proposed amended plan and
the information provided by NIPSCO. NIPSCO’s amended plan relies on monitoring
flows instead of reservoir levels. Although monitoring reservoir elevations is typically
the most effective way to monitor run-of-river conditions, NIPSCO maintains that it is
unable to maintain a stable reservoir elevation due to its nearly 100-year-old equipment. 65
Its turbines are 1920 Francis-style units that operate efficiently over a relatively narrow
range of flows. Further, as relevant here, the Oakdale dam includes three types of
spillways: an auxiliary six-bay gated siphon-type spillway with a crest elevation of
610.10 feet NGVD; a two-gated service spillway with a crest elevation of 592.10 feet
NGVD; and a concrete overflow spillway with a crest elevation of 615.50 feet NGVD.
Given that the normal elevation of Lake Freeman is 612.45 ± 0.25 feet NGVD and the
only ungated overflow spillway is at elevation 615.50 feet NGVD, none of the three
spillways are suitable to serve as an ungated fixed crest overflow spillway. As a result, in
order to control the reservoir elevation precisely enough to maintain instantaneous run-
of-river operations, the project would require relatively frequent manipulation of the
gates at Oakdale dam. No commenter objects to NIPSCO’s proposed plan. For these
reasons, we agree that NIPSCO’s proposed amended Project Operations and Compliance
Plan is reasonable and should be approved.

       D.       National Historic Preservation Act

74.    Under section 106 of the National Historic Preservation Act (NHPA) 66 and its
implementing regulations, 67 federal agencies must take into account the effect of any
proposed undertaking on properties listed or eligible for listing in the National Register
(defined as historic properties) and afford the Advisory Council on Historic Preservation
a reasonable opportunity to comment on the undertaking. This generally requires the
Commission to consult with the State Historic Preservation Officer (SHPO) to determine
whether and how a proposed action may affect historic properties, and to seek ways to
avoid or minimize any adverse effects.


       65
         See EA at C-10 (acknowledging NIPSCO’s concerns regarding its aging
equipment and stating that the Commission, if warranted, could modify license
conditions or impose new conditions requiring the modernization and automation of older
generating equipment).
       66
            16 U.S.C. § 470 et seq. (2012).
       67
            36 C.F.R. pt. 800 (2017).




                                                                                 Attachment 1
USCA Case #19-1066           Document #1778708          Filed: 03/15/2019     Page 30 of 68
Project No. 12514-074                                                                  -24-

75.    As discussed in Commission staff’s EA and above, operating the project in
accordance with NIPSCO’s amendment application and the Assistance Letter would
lower Lake Freeman during abnormal low-flow events more than the staff alternative.
More extensive drawdowns in Lake Freeman may expose inundated cultural resources,
both documented and undocumented. However, by email dated May 7, 2015, the Indiana
SHPO stated that if these drawdowns are completed slowly, simulating natural flows,
then impacts on archaeological resources would appear to be limited and similar to
natural occurrences. 68 The Indiana SHPO requested that it be notified during times of
abnormal low-flow conditions. 69 Given this consultation, Commission staff found in the
draft EA that these drawdowns are not likely to adversely affect inundated cultural
resources, and recommended that the licensee provide the requested notification. 70

76.    This order includes Ordering paragraph (F) which requires the licensee to notify
the Indiana SHPO within 30 days of the start of an abnormal low-flow event.

       E.         Water Quality Certification

77.     Under section 401(a)(1) of the Clean Water Act (CWA), 71 any applicant for a
federal license or permit to conduct an activity which may result in a discharge into
navigable waters must provide to the federal licensing or permitting agency a state
certification that any such discharge will comply with the applicable provisions of the
CWA. The Commission may not issue or amend a license authorizing any such activity
unless the state water quality certifying agency either has issued water quality
certification for the project or has waived certification by failing to act on a request for
certification within a reasonable period of time, not to exceed one year. Section 401(d)
of the CWA provides that the certification shall become a condition of any federal license
that authorizes construction or operation of the project. 72




       68
            Indiana SHPO’s May 7, 2015 Letter.
       69
            Id.
       70
            Draft EA at 6.
       71
            33 U.S.C. § 1341(a)(1) (2012).
       72
            33 U.S.C. § 1341(d) (2012).




                                                                                 Attachment 1
USCA Case #19-1066          Document #1778708          Filed: 03/15/2019     Page 31 of 68
Project No. 12514-074                                                                 -25-

78.    Article 401 of the existing license requires NIPSCO to monitor dissolved oxygen
(DO) levels to determine compliance with state DO standards and to devise corrective
actions if needed. There are no other license conditions relating to water quality. 73

79.    For the license amendment, in its April 3, 2015, request for additional information,
Commission staff advised NIPSCO that implementation of the Assistance Letter had the
potential to draw down Lake Freeman and thus may result in a new discharge within the
meaning of section 401 of the CWA. Commission staff therefore directed NIPSCO to
request a 401 water quality certification (WQC) from Indiana DEM and to file proof of
the date Indiana DEM received the request within 30 days.

80.    NIPSCO contacted Indiana DEM regarding submission of a request for water
quality certification on April 16, 2015, and held a meeting to discuss the Commission’s
directive on April 17, 2015. During the meeting, Indiana DEM advised NIPSCO that a
WQC would only be required and issued if the U.S. Army Corps of Engineers (Corps)
determined that a permit was required under section 404 of the CWA. Subsequently, on
April 17, 2015, the Corps advised NIPSCO that, because the change would not involve a
discharge of dredged or fill material, a section 404 permit was not required, and thus, a
section 401 WQC would not be required. By email dated April 29, 2015, 74 Indiana DEM
advised that it will not require a section 401 WQC to modify the interim definition of
“abnormal river conditions.”

       F.       Section 10(a)(1) of the FPA

81.    Section 10(a)(1) of the FPA 75 requires that any project for which the Commission
issues a license shall be best adapted to a comprehensive plan for improving or
developing a waterway or waterways for the use or benefit of interstate or foreign
commerce; for the improvement and utilization of waterpower development; for the
adequate protection, mitigation, and enhancement of fish and wildlife; and for other


       73
          The Indiana Department of Environmental Management (DEM) issued its water
quality certification for licensing the project on March 24, 2005, more than one year from
the date of NIPSCO’s application. Therefore, certification was deemed waived in the
October 2007 license order. See Northern Ind. Pub. Serv. Co., 121 FERC ¶ 62,009 at PP
11-12, 26-27. However, Commission staff determined that the certification conditions
were consistent with the Article 401 requirements.
       74
         See NIPSCO’s May 1, 2015 response to Commission staff’s additional
information request at Appendix A.
       75
            16 U.S.C. § 803(a)(1) (2012).




                                                                                Attachment 1
USCA Case #19-1066        Document #1778708             Filed: 03/15/2019      Page 32 of 68
Project No. 12514-074                                                                    -26-

beneficial public uses, including irrigation, flood control, water supply, recreation, and
other purposes. This standard continues to apply throughout the license term. 76

82.     As discussed above, the FWS states that the purpose of the Assistance Letter is to
identify dam operational measures that would create conditions for listed mussels that are
sufficiently representative of natural run-of-river flow to avoid take of any listed mussels
or adverse modification of critical habitat due to the project. Commission staff developed
its alternative proposal to achieve what it determined would provide a better balance
among competing resources under the FPA, by protecting not only mussels but other fish
and wildlife, preserving lake levels for navigation and recreation, and preventing possible
exposure of cultural resources present at the lake. 77

83.     However, in striking an appropriate balance among competing resources under
FPA section 10(a)(1), the Commission will give substantial weight to protecting ESA-
listed species. 78 In any event, incidental take conditions are mandatory to avoid a
prohibited taking under the ESA. 79 Therefore, while we believe that Commission staff’s
alternative discussed in the EA would provide a better balance of competing resources,
we do not find the conditions of FWS’s Assistance Letter and biological opinion to be
inconsistent with section 10(a)(1) of the FPA.

V.     Conclusion

84.     NIPSCO’s proposed modified definition of “abnormal river conditions” was
developed in consultation with FWS and Indiana DNR and would help protect federally-
listed mussel species downstream of the Oakdale dam during low-flow conditions. Such
operation would also lower Lake Freeman during low-flow periods and could adversely
affect lake level-based recreation, as discussed above and in Commission staff’s EA.

        See, e.g., Montana Power Co., 62 FERC ¶ 61,166, at 62,138-39 (1993); Pacific
       76

Gas and Elec. Co., 46 FERC ¶ 61,249, at 61,732 (1989).
       77
            EA at vii.

       See Merimil Limited Partnership, 155 FERC ¶ 61,185, at P 74, reh’g dismissed,
       78

157 FERC ¶ 61,089 (2016).
       79
           In an analogous context, courts have observed that the Commission has no
authority to reject or amend an agency’s mandatory conditions under FPA section 4(e);
rather, if the Commission determines that those conditions are inconsistent with the
comprehensive development standard of FPA section 10(a)(1), the Commission’s only
recourse is to deny a license application. See, e.g., Escondido Mutual Water Co. v. La
Jolla Band of Mission Indians, 466 U.S. 765, 777-78 & n.20 (1984); City of Tacoma,
Washington, v. FERC, 460 F.3d at 67.



                                                                                  Attachment 1
USCA Case #19-1066        Document #1778708             Filed: 03/15/2019      Page 33 of 68
Project No. 12514-074                                                                   -27-

Despite this, we approve the licensee's modified definition of abnormal river conditions
and amend license Article 403 in ordering paragraph (B) because, as explained above, the
definition is required under the ESA to authorize an otherwise prohibited take of
endangered and threatened mussels.

85.    This order also approves NIPSCO’s amended Project Operation and Compliance
Plan and terminates the temporary variance issued on August 22, 2014. NIPSCO must
operate the project in accordance with license Article 403 and follow the terms and
conditions of the incidental take statement included with FWS’s July 6, 2017 biological
opinion to ensure exemption from the take prohibitions of section 9 of the ESA.

86.     Therefore, these terms and conditions are attached to this order as Appendix A,
and are incorporated in the project license by ordering paragraph (D). So that the
Commission remains informed about the use of these terms and conditions to protect
federally-listed species, ordering paragraph (F) requires NIPSCO to file an annual report
detailing the elevation/release data and duration for project operations that occurred
during each abnormal low-flow event.

The Commission orders:

       (A) Northern Indiana Public Service Company’s application for amendment of
license for the Norway-Oakdale Hydroelectric Project No. 12514, filed October 2, 2014,
is approved.

       (B)     Article 403 is amended to define “abnormal river conditions” as:
(1) conditions with river flows of 3,000 cubic feet per second (cfs) or higher, or hourly
increases in river flow of 100 cfs or greater, at both project dams; (2) a 24-hour daily
average of river flow of ≤ 300 cfs as measured at the USGS Winamac gage (no.
03331753); (3) in the event of an equipment or operation issue at Oakdale dam unrelated
to weather conditions upstream, a 24-hour daily average of river flow of ≤ 570 cfs at the
USGS Oakdale gage (no. 03332605); or (4) a 24-hour daily average of river flows of
≤ 410 cfs at the NIPSCO Buffalo Bridge gage. Under “abnormal river conditions,” as
defined by river flow, the licensee must at all times act to maintain the fluctuation of the
reservoir surface elevation within 0.75 feet above (rather than 0.25 feet under normal
conditions) and 0.25 feet below elevation 647.47 feet NGVD for Lake Shafer and 0.75
feet above 612.45 feet NGVD for Lake Freeman.

       (C) The temporary variance from the minimum reservoir elevation under
license Article 403 that was granted by the Commission on August 22, 2014,
is terminated.

      (D) This license is subject to the reasonable and prudent measure and its
implementing incidental take terms and conditions of the biological opinion submitted by




                                                                                  Attachment 1
USCA Case #19-1066        Document #1778708            Filed: 03/15/2019     Page 34 of 68
Project No. 12514-074                                                                  -28-

the U.S. Fish and Wildlife Service under section 7 of the Endangered Species Act, as
those conditions are set forth in Appendix A to this order.

      (E)   Northern Indiana Public Service Company’s amended Project Operation
Compliance Plan filed October 2, 2014, pursuant to Article 404 of the project license, is
approved.

       (F)    The licensee must notify the Indiana State Historic Preservation Office
within 30 days of each abnormal low-flow event. In addition, the licensee must file an
annual report with the Commission by January 31 describing all abnormal low-flow
events. Each annual report must include:

              a. the beginning and end dates of each abnormal low-flow event as defined
                 by the low flow plan within the U.S. Fish and Wildlife Service’s (FWS)
                 Technical Assistance Letter;

              b. flow release data from Norway and Oakdale dams and fluctuations in
                 reservoir elevations during each abnormal low-flow event;

              c. the relevant USGS gage (or NIPSCO gage, upon approval by FWS)
                 readings, including those used to determine the 24-hour daily average
                 flows;

              d. the recorded 24-hour daily average flows;

              e. the measures taken to implement the abnormal low flow plan and their
                 beginning and end times;

              f. any problems associated with implementation of the abnormal low flow
                 plan protocols;

              g. any deviations from the abnormal low flow plan protocols, and;

              h. the magnitude and duration of any conditions that deviate from the
                 normal flow requirements of Article 403.




                                                                                Attachment 1
USCA Case #19-1066       Document #1778708           Filed: 03/15/2019    Page 35 of 68
Project No. 12514-074                                                              -29-

       (G) This order constitutes final agency action. Any party may file a request for
rehearing of this order within 30 days from the date of its issuance, as provided in
section 313(a) of the FPA, 16 U.S.C. § 825l (2012), and section 385.713 of the
Commission’s regulations, 18 C.F.R. § 385.713 (2017).

By the Commission.

(SEAL)




                                            Nathaniel J. Davis, Sr.,
                                              Deputy Secretary.




                                                                             Attachment 1
USCA Case #19-1066         Document #1778708              Filed: 03/15/2019     Page 36 of 68
Project No. 12514-074                                                                     -30-

                                       APPENDIX A

 Reasonable and Prudent Measure and Terms and Conditions included in the U.S.
     Fish and Wildlife Service's Biological Opinion for the Norway-Oakdale
                        Hydroelectric Project No. 12514

                                     Filed July 6, 2017

EFFECT OF THE TAKE

In the accompanying biological opinion, the Service determined that this level of
anticipated take is not likely to result in jeopardy to the species or destruction or adverse
modification of critical habitat.

AMOUNT OR EXTENT OF TAKE ANTICIPATED

Implementation of the proposed FERC action would result in take at the levels described
in Table 4 [below], and at the frequencies described in the accompanying text. This level
of take would occur without implementation of the reasonable and prudent measure,
which is described in the next section.

Table 4

  CFS        Affected                              Mussel Take/ (m2)
            Habitat (m2)
                               Clubshell       Fanshell        Sheepnose       Rabbitsfoot
                                (0.001)        (0.0013)         (0.002)          (0.003)

 500              0                      0                 0               0                0

 400           74,227                   74                96            148              223

 300          157,733                 158              205              315              473

 150          436,085                 436              567              872             1308




REASONABLE AND PRUDENT MEASURE




                                                                                   Attachment 1
USCA Case #19-1066       Document #1778708             Filed: 03/15/2019     Page 37 of 68
Project No. 12514-074                                                                 -31-

The Service believes the following reasonable and prudent measure is necessary and
appropriate to minimize impacts of incidental take of clubshell, fanshell, sheepnose, and
rabbitsfoot mussels.

   • Minimize take of listed mussel by restoring a more natural flow regime
     downstream of Oakdale dam during low-flow periods.

TERMS AND CONDITIONS

   • Adopt the alternative proposed by NIPSCO in its request for a license amendment
     and implement the Service TAL of 2014 as clarified (Appendix 1).

   • Replace readings from the USGS Winamac Gauge with those from the USGS
     Buffalo Gauge as the key metric defined in the TAL upon authorization of the
     USGS Buffalo Gauge by the Service.




                                                                                Attachment 1
USCA Case #19-1066      Document #1778708         Filed: 03/15/2019    Page 38 of 68
Project No. 12514-074                                                           - 32 -

                                  APPENDIX B

      U.S. Fish and Wildlife’s Technical Assistance Letter and Clarifications




                                                                          Attachment 1
USCA Case #19-1066      Document #1778708   Filed: 03/15/2019   Page 39 of 68
Project No. 12514-074                                                  - 33 -




                                                                  Attachment 1
USCA Case #19-1066      Document #1778708   Filed: 03/15/2019   Page 40 of 68
Project No. 12514-074                                                  - 34 -




                                                                  Attachment 1
USCA Case #19-1066      Document #1778708   Filed: 03/15/2019   Page 41 of 68
Project No. 12514-074                                                  - 35 -




                                                                  Attachment 1
USCA Case #19-1066      Document #1778708   Filed: 03/15/2019   Page 42 of 68
Project No. 12514-074                                                  - 36 -




                                                                  Attachment 1
USCA Case #19-1066      Document #1778708   Filed: 03/15/2019   Page 43 of 68
Project No. 12514-074                                                  - 37 -




                                                                  Attachment 1
USCA Case #19-1066      Document #1778708   Filed: 03/15/2019   Page 44 of 68
Project No. 12514-074                                                  - 38 -




                                                                  Attachment 1
USCA Case #19-1066      Document #1778708   Filed: 03/15/2019   Page 45 of 68
Project No. 12514-074                                                  - 39 -




                                                                  Attachment 1
USCA Case #19-1066      Document #1778708   Filed: 03/15/2019   Page 46 of 68
Project No. 12514-074                                                  - 40 -




                                                                  Attachment 1
USCA Case #19-1066      Document #1778708   Filed: 03/15/2019   Page 47 of 68
Project No. 12514-074                                                  - 41 -




                                                                  Attachment 1
USCA Case #19-1066      Document #1778708   Filed: 03/15/2019   Page 48 of 68
Project No. 12514-074                                                  - 42 -




                                                                  Attachment 1
USCA Case #19-1066      Document #1778708   Filed: 03/15/2019   Page 49 of 68
Project No. 12514-074                                                  - 43 -




                                                                  Attachment 1
USCA Case #19-1066      Document #1778708   Filed: 03/15/2019   Page 50 of 68
Project No. 12514-074                                                  - 44 -




                                                                  Attachment 1
USCA Case #19-1066      Document #1778708   Filed: 03/15/2019   Page 51 of 68
Project No. 12514-074                                                  - 45 -




                                                                  Attachment 1
USCA Case #19-1066   Document #1778708   Filed: 03/15/2019   Page 52 of 68




                        19-1066
                     ATTACHMENT 2
USCA Case #19-1066           Document #1778708           Filed: 03/15/2019     Page 53 of 68


                                166 FERC ¶ 61,030
                           UNITED STATES OF AMERICA
                    FEDERAL ENERGY REGULATORY COMMISSION

Before Commissioners: Neil Chatterjee, Chairman;
                      Cheryl A. LaFleur, Richard Glick,
                      and Bernard L. McNamee.

Northern Indiana Public Service Company LLC                    Project No. 12514-085


                              ORDER DENYING REHEARING

                                   (Issued January 17, 2019)

        On June 21, 2018, the Commission issued an order amending Northern Indiana
Public Service Company LLC’s (NIPSCO) license for its Norway-Oakdale Hydroelectric
Project No. 12514 (Norway-Oakdale Project), located on the Tippecanoe River in Carroll
and White counties, Indiana. 1 The Order Amending License modified license Article 403’s
definition of “abnormal river conditions,” approved a revised operation compliance plan,
and terminated a temporary variance. On July 19, 2018, Shafer and Freeman Lakes
Environmental Conservation Corporation, together with Carroll County, Indiana; White
County, Indiana; and the City of Monticello, Indiana (collectively, Protest Coalition) filed a
timely request for rehearing. This order denies rehearing.

I.     Background

       On October 2, 2007, Commission staff issued a 30-year license to NIPSCO to
maintain and operate the Norway-Oakdale Project. 2 The Norway-Oakdale Project is located
on a 19-mile segment of the Tippecanoe River. The project consists of two developments
(including dams, reservoirs, and powerhouses) with a combined generating capacity of 16.4
megawatts (MW): the upper Norway development and the lower Oakdale development.

       The Norway development includes: a 915-foot-long dam; a powerhouse equipped
with four generating units with a total authorized installed capacity of 7.2 MW; and the
1,291-acre Lake Shafer, which extends 10 miles upstream of Norway dam. The Oakdale
development includes: a 1,688-foot-long dam; a powerhouse equipped with
three generating units with a total authorized installed capacity of 9.2 MW; and the 1,547-
acre Lake Freeman, which extends 10 miles upstream of Oakdale dam.


       1
           N. Ind. Pub. Serv. Co. LLC, 163 FERC ¶ 61,212 (2018) (Order Amending License).
       2
           N. Ind. Pub. Serv. Co., 121 FERC ¶ 62,009 (2007).



                                                                                   Attachment 2
USCA Case #19-1066            Document #1778708           Filed: 03/15/2019     Page 54 of 68
Project No. 12514-085                                                                   -2-

        A.       Project Operation

       License Article 403 requires NIPSCO to operate both developments in an
instantaneous run-of-river mode, to the maximum extent practicable. Under run-of-river
operation, outflow from the Norway dam approximates the sum of inflows to Lake Shafer
and the outflow from the Oakdale dam approximates the sum of inflows to Lake Freeman.
Further, Article 403 requires NIPSCO to maintain Lake Shafer within 0.25 feet above and
below elevation 647.47 feet National Geodetic Vertical Datum (NGVD) and Lake Freeman
within 0.25 feet above and below elevation 612.45 feet NGVD.

        Article 403 allows NIPSCO to temporarily modify run-of-river operations and
reservoir elevations during “abnormal river conditions.” Article 403 provides an interim
definition for “abnormal river conditions,” stating that these were conditions with river
flows of 3,000 cubic feet per second (cfs) or higher, or an hourly increase in river flow of
100 cfs or greater at both project dams. During such abnormal river conditions, Article 403
requires NIPSCO at all times to maintain Lake Shafer within 0.75 feet above and 0.25 feet
below elevation 647.47 feet NGVD, and Lake Freeman within 0.75 feet above and 0.25 feet
below elevation 612.45 feet NGVD. Article 403 does not allow the licensee to temporarily
modify operations during low-flow conditions without the Commission granting a variance.

       License Article 405 states that within five years of license issuance NIPSCO must
propose a permanent definition of “abnormal river conditions” developed in consultation
with the U.S. Fish and Wildlife Service (FWS) and the Indiana Department of Natural
Resources.

       Beginning in the summer of 2012, northern Indiana experienced severe droughts that
resulted in mussel mortality in the Tippecanoe River downstream of the Oakdale dam,
including the sheepnose, clubshell, and fanshell species, which were federally-listed as
endangered under the Endangered Species Act (ESA), and the rabbitsfoot, which was
unlisted at that time. 3 As a result, during the summer of 2012, FWS recommended that
NIPSCO release a minimum flow of 200 cfs from the Oakdale dam to avoid the take of
federally-listed mussels. 4

      While maintaining the FWS-recommended 200-cfs flow, NIPSCO fell out of
compliance with license Article 403’s requirement to maintain run-of-river operation – the


        3
            Rabbitsfoot mussels were listed as threatened under the ESA on September 17,
2013.

        FWS’ July 17, 2012 Filing (Accession No. 20120717-0022). The term “take”
        4

means to harass, harm, pursue, hunt, shoot, wound, kill, trap, capture, or collect, or attempt
to engage in any such conduct. 16 U.S.C. § 1532(19) (2012).




                                                                                   Attachment 2
USCA Case #19-1066         Document #1778708            Filed: 03/15/2019     Page 55 of 68
Project No. 12514-085                                                                 -3-

outflows from Oakdale dam exceeded inflows to Lake Freeman, causing the surface
elevation of Lake Freeman to fall below 612.20 feet NGVD. 5

        Consequently, between August 2012 and 2014, NIPSCO requested temporary
variances of license Article 403 6 and an extension of time to comply with Article 405’s
requirement to develop a permanent definition of “abnormal river conditions.” Commission
staff approved NIPSCO’s requests for temporary variances during this time. 7

       On August 13, 2014, FWS issued a Technical Assistance Letter (Assistance Letter) to
NIPSCO, identifying dam operation measures that FWS stated would mimic natural run-of-
river conditions in order to avoid project-induced take of federally-listed mussels and avoid
adverse modification of critical habitat attributable to project operation.8 The Assistance
Letter set forth an abnormal low-flow plan that is triggered by an abnormal low-flow event. 9
When an abnormal low-flow event occurs, NIPSCO must stop generation at the Oakdale
development and release 1.9 times the flow of the previous 24-hour daily average flow
measured at the Winamac gage, or 500 cfs, whichever is less. The abnormal low-flow event
ends when the 24-hour daily average flow is greater than 300 cfs at the Winamac gage and
greater or equal to 500 cfs at the Oakdale gage. The Assistance Letter does not affect
operations at the Norway development.




      5
       A more detailed description of drought events and procedural history appears in the
Order Amending License, 163 FERC ¶ 61,212 at PP 10-18.
      6
          NIPSCO August 3, 2012 Filing (Accession No. 20120803-5042).
      7
       N. Ind. Pub. Serv. Co., 141 FERC ¶ 62,012 (2012); N. Ind. Pub. Serv. Co.,
143 FERC ¶ 62,043 (2013); N. Ind. Pub. Serv. Co., 148 FERC ¶ 62,156 (2014).
      8
         See Order Amending License, 163 FERC ¶ 61,212 at Appendix B. FWS issued
three clarifications to the Assistance Letter filed with the Commission on October 2, 2014
(clarifying flows that trigger and terminate an abnormal low-flow event); November 6, 2015
(addressing gage malfunctions); and June 7, 2016 (clarifying that NIPSCO was not required
to release more than 500 cfs from the Oakdale dam).
      9
         FWS defined a “low-flow event” as occurring when the 24-hour daily average flow
is equal to or less than 300 cfs at the U.S. Geological Survey’s (USGS) Winamac gage,
located 30 river miles upstream of the Norway dam and 45 river miles upstream of the
Oakdale dam, or is equal to or less than 570 cfs at the Oakdale gage, located 0.25 miles
downstream of the Oakdale dam.



                                                                                 Attachment 2
USCA Case #19-1066           Document #1778708             Filed: 03/15/2019     Page 56 of 68
Project No. 12514-085                                                                   -4-

       FWS selected the trigger flows and downstream flow requirements for abnormal low-
flow conditions by using linear scaling. 10 FWS explained that linear scaling is commonly
used as a proxy for discharge, based on the assumption that discharge increases as drainage
basin area increases. 11

        FWS further explained that it used the Winamac gage to set trigger flows and
approximate natural flows because it is the closest upstream gage that is unaffected by the
project. However, NIPSCO, FWS, and USGS have been working to bring a new gage on
line at Buffalo Bridge, approximately 12.5 miles upstream of Lake Shafer and 34.9 miles
upstream of the Oakdale dam. By using a gage at Buffalo Bridge, NIPSCO states that it
would be able to approximate flows at a point that is not subject to potential water
withdrawals that occur between the Winamac and Buffalo Bridge gages. 12

       B.       License Amendment Proposal

       On October 2, 2014, as required by license Article 405, NIPSCO filed a license
amendment application proposing a modified definition of “abnormal river conditions”
consistent with FWS’ recommendations contained in its Assistance Letter. Specifically,
NIPSCO proposed to modify the definition of “abnormal river conditions” in license Article
403 to the following:

                Conditions with river flows of 3,000 cubic feet per second (cfs)
                or higher; hourly increases in river flow of 100 cfs or greater at
                both project dams; a 24-hour daily average of river flow of ≤
                300 cfs as measured at the USGS Winamac gage; in the event of
                an equipment or operation issue at Oakdale unrelated to weather
                conditions upstream, a 24-hour daily average of river flow of ≤
                570 cfs at the USGS Oakdale gage; or a 24 hour daily average of
                river flows of ≤ 410 cfs at the NIPSCO Buffalo Bridge gage.
                Under “abnormal river conditions,” as defined by river flow, the
                licensee shall at all times act to maintain the fluctuation of the
                reservoir surface elevation within 0.75 feet above (rather than
                0.25 feet under normal conditions) and 0.25 feet below elevation

       10
          See Final Environmental Assessment (EA) at 42. Linear scaling is a method of
estimating stream flow at an ungaged stream site with a known drainage area based on flows
measured at a gaged site with a known drainage area. The method assumes that the only
factor affecting flows between the two sites is the size of the drainage areas. The method is
also known as the drainage area ratio method. A linear relationship is shown by a straight
line, as opposed to other types of relationships (e.g., exponential or logarithmic).
       11
            See Order Amending License, 163 FERC ¶ 61,212 at Appendix B at 3.
       12
            See NIPSCO’s October 2, 2014 Application at 6 (Accession No. 20141002-5140).



                                                                                     Attachment 2
USCA Case #19-1066            Document #1778708         Filed: 03/15/2019      Page 57 of 68
Project No. 12514-085                                                                 -5-

                 647.47 feet NGVD for Lake Shafer and 0.75 feet above 612.45
                 feet NGVD for Lake Freeman.

      NIPSCO did not propose a minimum elevation for Lake Freeman during abnormal
flow conditions.

       C.        Environmental Review and Staff Recommendation

        On October 9, 2015, Commission staff issued a draft EA which found that NIPSCO’s
proposed action would overestimate inflows to Lake Freeman because it was based on the
linear scaling method using data from the Winamac gage, located 45 miles upstream from
the Oakdale dam, and, as a result, did not account for local hydrologic events, including
groundwater inflows, stormwater runoff, evaporation, tributary inflows, changes in the
accuracy of flow measurements over time, or lag time for measured flows to reach the
project. 13

       Instead, the draft EA recommended the staff alternative, which separately defined
abnormal high flows and abnormal low flows. Abnormal low flows would be triggered by
the same flows as provided in the proposed amendment and Assistance Letter; however,
NIPSCO would not have to release minimum flows that exceed inflow, which would cause
Lake Freeman to drop. Rather, the staff alternative would require the licensee to cease
generation at both developments and operate the gates to maintain Lakes Schafer and
Freeman at the levels where they were when generation ceased. Once a triggering event
occurred, outflows would equal inflows and storage in Lake Freeman would not be called
upon to augment low flows downstream of Oakdale dam.

        The draft EA found that Commission staff’s alternative would reduce adverse effects
of project operations on endangered mussels, while requiring that lake levels be held
constant during abnormal low-flow conditions. The draft EA explained that the staff
alternative may slightly enhance conditions for listed mussels downstream of the project
compared to current conditions, by maintaining the natural hydrology of the river and by
reducing rapid flow fluctuations that can adversely affect downstream mussels and subject
them to stranding, desiccation, and predation, while protecting the numerous resources of
Lake Freeman that depend on stable lake levels. 14 Accordingly, the draft EA recommended
the staff alternative.

       The Commission received comments in support of and opposition to the draft EA’s
recommendations. Specifically, NIPSCO stated that Commission staff’s alternative is not
operation feasible because the dams’ equipment is not designed, and cannot be modified to
maintain constant reservoir elevations. The Protest Coalition agreed with staff’s alterative

       13
            Draft EA at 65.
       14
            Id. at 80.



                                                                                 Attachment 2
USCA Case #19-1066            Document #1778708            Filed: 03/15/2019      Page 58 of 68
Project No. 12514-085                                                                     -6-

and found that science does not support the use of linear scaling. In response to the
comments, Commission staff conducted a publicly-noticed technical conference on May 10,
2016, to discuss the proposed operational changes; the hydraulic analyses performed by
NIPSCO, Commission staff, and the Protest Coalition; alternatives to NIPSCO’s proposal;
and Commission staff’s analysis in the draft EA. Commission staff, NIPSCO, FWS, and the
Protest Coalition participated in the conference and met on several occasions thereafter to
discuss methods for approximating natural run-of-river flows and minimizing flow
variability. The parties did not reach an agreement.

        On November 10, 2016, Commission staff issued a final EA, recommending a
modified staff alternative that would require, under abnormal low-flow conditions, that
NIPSCO “immediately cease generation at the Oakdale [d]evelopment and at all times act to
maintain the reservoir elevation at Lake Freeman at elevation 612.20 feet NGVD.” 15 Staff
also requested concurrence from FWS that the staff alternative was not likely to adversely
affect federally-listed mussels or adversely modify designated critical habitat. FWS and the
U.S. Environmental Protection Agency (EPA) filed comments on the final EA. EPA
recommended the Commission coordinate with the FWS, clarify whether impacts to mussels
would be significant, and assess whether the operation of the project would be resilient to
changing climate conditions.

        By letter dated December 9, 2016, FWS stated it did not concur with Commission
staff’s finding in the final EA and requested additional information to prepare its biological
opinion. 16 On February 16, 2017, staff provided FWS with the requested additional
information and asked for formal consultation under ESA section 7(a)(2). 17

        On July 6, 2017, the FWS issued a biological opinion for the modified staff
alternative. The biological opinion concurred that the staff alternative is not likely to
adversely affect the rayed bean and snuffbox mussels, because it is unlikely those species
still occur downstream of the project. 18 Further, the biological opinion concluded that the
staff alternative is not likely to jeopardize the continued existence of the clubshell, fanshell,




       15
            Final EA at 17.
       16
            See FWS’s December 9, 2016 filing (Accession No. 20161209-5105).
       17
            16 U.S.C. § 1536(a) (2012).
       18
         FWS’ July 5, 2017 Biological Opinion at 2 (Accession No. 20170706-5012)
(Biological Opinion).



                                                                                     Attachment 2
USCA Case #19-1066         Document #1778708            Filed: 03/15/2019     Page 59 of 68
Project No. 12514-085                                                                  -7-

sheepnose, and rabbitsfoot mussels, and is not likely to destroy or adversely modify
designated rabbitsfoot critical habitat. 19

        However, FWS did not agree with Commission staff’s alternative to approximate
run-of-river operations at the Oakdale development. FWS stated that under the Commission
staff’s alternative, during the late summer and early autumn, when flows are often naturally
low, the quantity of water released from Oakdale dam would not match the flows that FWS
has determined would best mimic the natural flow of the river (i.e., the linearly-scaled flow
measured at the Winamac gage). Rather, FWS stated that the best way to protect mussel
populations is to maintain run-of-river operations at the Oakdale development using linear
scaling.

       The biological opinion includes an incidental take statement, with one reasonable and
prudent measure to avoid or minimize incidental take, and two terms and conditions to
implement that measure. The reasonable and prudent measure is to minimize take of listed
mussels by restoring what FWS considers to be a more natural flow regime downstream of
Oakdale dam during low-flow periods. To implement the reasonable and prudent measure,
the terms and conditions require the adoption of NIPSCO’s proposed license amendment
and implementation of the Assistance Letter, as clarified, and replacement of readings from
the Winamac gage with those from the Buffalo Bridge gage, once that gage is operational.

      D.       Order Amending License

       The Order Amending License incorporated FWS’ modified incidental take statement,
reasonable and prudent measures, and terms and conditions into the license. The order
explained that although FWS and Commission staff have different approaches to
maintaining run-of-river operations at the Oakdale development, the ESA constrains the
Commission’s discretion to implement Commission staff’s recommended alternative. 20

       On rehearing, the Protest Coalition argues that the Order Amending License:
(1) should have adopted the Commission staff alternative; (2) did not adequately consider
expert opinion other than that from FWS; (3) should not have adopted FWS’ reasonable and
prudent measures; (4) ignored riparian rights; and (5) violated the due process clause of the
U.S. Constitution.




      19
         Final EA at 64. In a 2008 comment letter, FWS stated that northern riffleshell
mussels are not known to be extant in the Tippecanoe River. Id.
      20
           Order Amending License, 163 FERC ¶ 61,212 at P 53.




                                                                                 Attachment 2
USCA Case #19-1066            Document #1778708               Filed: 03/15/2019   Page 60 of 68
Project No. 12514-085                                                                    -8-

II.    Discussion

       A.        Order Properly Adopted the Biological Opinion’s Method of Operation

        On rehearing, the Protest Coalition argues that the Commission should have adopted
the Commission staff alternative for project operation. 21 The Protest Coalition states that
FWS found that the Commission staff alternative “is not likely to jeopardize the existence of
the clubshell, fanshell, sheepnose or rabbitsfoot mussels and is not likely to destroy or
adversely modify designated critical habitat.” 22 The Protest Coalition contends that this “no
jeopardy” determination states that harm to endangered mussels and their habitat is not
likely to occur under the staff alternative and therefore limits FWS’ authority to dictate dam
operation measures to the Commission. As a result, the Protest Coalition concludes that the
Commission has the discretion to adopt either its staff alternative or the biological opinion’s
alternative for operation. 23

         ESA section 7(a)(2) imposes both substantive and procedural responsibilities. The
Protest Coalition, however, overstates the independence of federal agencies in acting under
that section. Although a federal agency must ensure that its action will not jeopardize the
continued existence of listed species or destroy or modify their designated critical habitat, it
must do so in consultation with FWS or the National Marine Fisheries Service, as
appropriate. Because those agencies are charged with implementing the ESA, they are the
recognized experts with regard to matters of listed species and their habitat. The Supreme
Court, in Bennett v. Spear, recognized that although a biological opinion “theoretically
serves an advisory function … in reality it has a powerful coercive effect on the agency
action.” 24 The statutory framework is based on the assumption that the biological opinion
will play a central role in the action agency’s decision making, and an agency that
disregards a biological opinion and proceeds with its proposed action “does so at its own
peril.” 25

     For these reasons, we affirm the Order Amending License’s determination that the
ESA constrains our discretion to implement staff’s recommended alternative. 26 Under the

       21
            Protest Coalition’s Request for Rehearing at 1.
       22
            Id. (quoting Biological Opinion at 2).
       23
            Protest Coalition’s Request for Rehearing at 1-2.
       24
            520 U.S. 154, 169 (1997) (Bennett) (internal citation omitted).
       25
            Id. at 170.
       26
            Order Amending License, 163 FERC ¶ 61,212 at P 53.




                                                                                    Attachment 2
USCA Case #19-1066            Document #1778708               Filed: 03/15/2019   Page 61 of 68
Project No. 12514-085                                                                    -9-

Federal Power Act (FPA), the Commission is responsible for balancing environmental and
developmental values in determining what measures should be required in connection with
relicensing or amending a hydroelectric project. Under the ESA, the FWS has a different
role. As the consulting agency, FWS must offer its expert opinion on whether the proposed
action is likely to cause jeopardy to the species or destroy or adversely modify the species’
critical habitat, without concern for other, possibly competing interests. We would not
necessarily expect FWS to reach the same conclusion regarding run-of-river operations as
Commission staff did under the FPA. We recognize that FWS’ linear scaling approach
provides less than ideal certainty in maintaining run-of-river conditions at Lake Freeman.
These differing opinions do not provide us with any basis for rejecting the biological
opinion here or in the Order Amending License. 27 Further, the importance of the consulting
agency’s role in protecting endangered species, coupled with the coercive effect of the
ESA, 28 make it unlikely that we will act in a manner that is inconsistent with the conditions
of a biological opinion.

        The Protest Coalition argues that the Order Amending License’s reliance on Bennett
is misplaced, because that case involved a “jeopardy” determination rather than a “no
jeopardy” determination. 29 The Protest Coalition argues that this distinction grants the
Commission the authority to decide whether it should adopt the reasonable and prudent
measures in FWS’ “no jeopardy” biological opinion. 30 We disagree. A “no jeopardy”
determination does not mean that the proposed action is not likely to cause harm to
endangered species and their habitat. Rather, it means that the proposed action will not
jeopardize the continued existence of listed species or destroy or modify their designated
critical habitat. 31 As explained in the Order Amending License, ESA section 9 prohibits any
taking of a listed species, except in compliance with an incidental take statement included in
a biological opinion after formal consultation. 32 Violations of the ESA, including the taking
prohibition, present a risk of civil and criminal penalties, including imprisonment. The
Commission is not required to adopt the biological opinion. But, compliance with the terms
and conditions of the biological opinion is necessary to ensure that any taking of a listed
species does not violate the ESA, thus providing the licensee, as well as the Commission


       27
            Id.
       28
            Bennett, 520 U.S. at 169-170.
       29
            Protest Coalition’s Request for Rehearing at 4.
       30
            Id.
       31
            50 C.F.R. § 402.14(h)(3) (2018).
       32
            Order Amending License, 163 FERC ¶ 61,212 at P 53.




                                                                                    Attachment 2
USCA Case #19-1066            Document #1778708               Filed: 03/15/2019   Page 62 of 68
Project No. 12514-085                                                                   - 10 -

and its employees, “safe harbor” from possible prosecution.33 The Commission could
choose not to adopt the biological opinion, but in doing so it loses safe harbor protection. 34
Bennett did not limit consideration of safe harbor provisions to compliance with a
“jeopardy” biological opinion, and neither do we.

       B.         FWS’ Biological Opinion Used Best Available Data

       The Protest Coalition states that the Commission and FWS must use the “best science
and commercially available data” to reach their final determinations. 35 The Protest
Coalition contends that, during periods of low flow, endangered mussels downstream of the
Oakdale Dam are entitled to the natural river flow, no more, no less; thus, in Protest
Coalition’s view, the basic tenet of this case is determining what that flow would be without
the presence of the Norway and Oakdale dams. 36 The Protest Coalition maintains that the
Commission improperly accepted evidence submitted by FWS over that of its own staff or
other parties. 37

       Under the ESA, the Commission must provide “the best scientific and commercial
data available” for formal consultation, and FWS must use the best available data when
developing its biological opinion. 38 The purpose of the “best available science standard it to
prevent an agency from basing its action on speculation and surmise.” 39 “The
best available data requirement merely prohibits [an agency] from disregarding available
scientific evidence that is in some way better than the evidence [it] relies on.” 40 An agency

       33
            16 U.S.C. § 1536(o)(2) (2012).

        Me. Council of the Atlantic Salmon Fed’n v. Nat’l Marine Fisheries Serv., 203 F.
       34

Supp. 3d 58, 76 (D. Me. 2016).
       35
            Protest Coalition’s Request for Rehearing at 2.
       36
            Id.
       37
            Id. at 2-3.
       38
            16 U.S.C. § 1536(a)(2) (2012); 50 C.F.R. §§ 402.14(d) and 402(g)(8) (2018).

        San Luis & Delta – Mendota Water Auth. v. Locke, 776 F.3d 971, 995 (9th Cir.
       39

2014) (Locke).
       40
          Kern Cnty. Farm Bureau v. Allen, 450 F.3d 1072, 1080 (9th Cir. 2006) (Kern
Cnty) (quoting Sw. Ctr. for Biological Diversity v. Babbitt, 215 F.3d 58, 60 (D.C. Cir. 2000)
(internal quotations omitted). See also Locke, 776 F.3d at 995 (“Moreover, if the only
available data is weak, and thus not dispositive, an agency’s reliance on such data does not




                                                                                    Attachment 2
USCA Case #19-1066             Document #1778708         Filed: 03/15/2019     Page 63 of 68
Project No. 12514-085                                                                - 11 -

“complies with the best available science standard so long as it does not ignore studies, even
if it disagrees with or discredits them.” 41

        The areas of disagreement between the Protest Coalition and FWS concern the nature
and quantity of evidence on which FWS has relied and the ultimate conclusions that may
appropriately be drawn from that evidence. The Protest Coalition asks the Commission to
review the validity of the biological opinion and substitute our judgement for that of FWS,
the agency Congress has determined in the ESA should be responsible for providing its
expert opinion regarding whether amending the operation of the Norway-Oakdale Project is
likely to jeopardize the continued existence of the listed species, or destroy or adversely
modify its critical habitat. As we stated above, 42 although Commission staff’s analysis
concurred with the Protest Coalition’s hydrology experts’ concerns with FWS’ linear
scaling approach for determining the low flow requirements for the project, 43 those concerns
were not sufficient to lead the Commission to reject FWS’ findings in the biological
opinion. 44 Additionally, the Protest Coalition has not provided any additional information
to lead us to question those findings now. None of the Protest Coalition’s arguments
presented on rehearing or in its protest to the Order Amending License provide any basis for
rejecting FWS’ finding that project operation can result in the incidental taking of listed
mussel species, and that the terms and conditions of the incidental take statement are needed
to avoid or minimize the taking.

       When a biological opinion is prepared in the course of a Commission proceeding, the
only means of challenging its substantive validity is on judicial review. 45 Therefore, a
reviewing court, and not the Commission, must decide whether FWS considered the
relevant factors and adequately explained its choices in the biological opinion. Although the
Commission makes an independent decision under the FPA as to what measures should be
included in a license amendment, we are unlikely to contradict the consulting agency’s




render the agency’s determination arbitrary and capricious” (quotations and citations
omitted)).
       41
         Locke, 776 F.3d at 995; Kern Cnty, 450 F.3d at 1080-81 (quoting Conner v.
Burford, 848 F.2d 1441, 1454 (9th Cir. 1988)).
       42
            See P 28, supra.
       43
            Final EA at 45.
       44
            Order Amending License, 163 FERC ¶ 61,212 at P 65.
       45
            City of Tacoma, Wash. v. FERC, 460 F.3d 53, 75 (D.C. Cir. 2006).




                                                                                  Attachment 2
USCA Case #19-1066           Document #1778708               Filed: 03/15/2019   Page 64 of 68
Project No. 12514-085                                                                  - 12 -

recommendations in the absence of a showing that the biological opinion, and the remainder
of the record, do not provide substantial evidence to support them.

      C.        The Biological Opinion’s Reasonable and Prudent Measure and
                Implementing Conditions Do Not Constitute a Major Change

       The Protest Coalition states that “reasonable and prudent measures, along with terms
and conditions that implement them, cannot alter the basic design, location, scope, duration,
or timing of the action and may involve only minor changes.” 46 The Protest Coalition
asserts that FWS’s reasonable and prudent measure and implementing terms and conditions
constitute a major change to the Commission staff’s alternative because they eliminate the
lower reservoir elevation limit of Lake Freeman 47 and the Commission staff alternative set
Lake Freeman’s reservoir surface elevation no lower than elevation 612.20 feet NGVD,
which is 3 inches (0.25 feet) below normal reservoir surface elevation.48

        We disagree with the Protest Coalition’s argument that implementation of these
conditions will result in major changes to the staff alternative. 49 We affirm the Order
Amending License’s determination that although FWS’ reasonable and prudent measure
would result in lower reservoir levels during periods of low flow, this approach is designed
to achieve the same purpose as the Commission staff alternative, to approximate run-of-
river flow and protect downstream mussel populations. 50 Thus, we do not consider
implementation of the biological opinion’s reasonable and prudent measure a major change.

      D.        The Order Amending License Considered Riparian Rights

       The Protest Coalition argues that the Order Amending License failed to consider the
riparian rights of property owners surrounding Lake Freeman. 51 Specifically, the Protest


      46
           Protest Coalition’s Request for Rehearing at 4 (quoting 50 C.F.R. § 402.14(i)(2)
(2018)).
      47
           Protest Coalition’s Request for Rehearing at 4.
      48
           Id. at 3.
      49
          See Westlands Water District v. U.S. Dep’t of the Interior, 376 F.3d 853, 876 (9th
Cir. 2004) (setting aside a reasonable and prudent measure as a major change because it
required the relocation of hundreds of thousands of acre-feet of water, with wide ranging
effects).
      50
           Order Amending License, 163 FERC ¶ 61,212 at P 66.
      51
           Protest Coalition’s Request for Rehearing at 5.




                                                                                   Attachment 2
USCA Case #19-1066            Document #1778708            Filed: 03/15/2019     Page 65 of 68
Project No. 12514-085                                                                  - 13 -

Coalition contends that by permitting NIPSCO to lower Lake Freeman, the Commission
denied property owners access to navigable waters and the reasonable use of that water for
boating, domestic purposes, and recreation. 52

        We disagree. The Order Amending License acknowledged that removal of the lower
lake-level restriction for Lake Freeman would allow NIPSCO to use storage from Lake
Freeman to comply with the flow releases from Oakdale dam required by the Assistance
Letter. 53 These drawdowns would result in frequent and substantial adverse effects on other
environmental resources associated with Lake Freeman. 54 For example, the Order
Amending License cited to a 1.5-foot drawdown in Lake Freeman that:

                 occurred in August 2014 and resulted in lake levels that:
                 (a) prevented use of docks and boat lifts, thus stranding boats
                 above the water level; (b) caused boat ramp closures; (c) created
                 unsafe boating conditions; (d) created a noxious odor due to
                 mortality of fish and mussels and decay of exposed aquatic
                 vegetation in the lake; (e) significantly diminished recreational
                 experiences; and (f) potentially endangered cultural resources
                 present at the lake. 55

Users’ access to Lake Freeman will only be restricted during periods of “abnormal river
conditions.” 56 However, despite these concerns, as stated above and in the Order Amending
License, 57 the ESA constrains the Commission’s discretion to implement the staff
recommended alternative that set a minimum lake elevation level for Lake Freeman.




      52
           Id.
      53
           Order Amending License, 163 FERC ¶ 61,212 at P 52.
      54
           Id.
      55
           Id. (citing EA at v).
      56
           See P 13, supra; final EA at 74-76.
      57
           See PP 27-29, supra; Order Amending License, 163 FERC ¶ 61,212 at P 53.




                                                                                     Attachment 2
USCA Case #19-1066           Document #1778708               Filed: 03/15/2019   Page 66 of 68
Project No. 12514-085                                                                  - 14 -

      E.        The Commission Protected Parties’ Due Process Rights

       The Protest Coalition argues that the Due Process Clause of the Fifth Amendment to
the U.S. Constitution imposes an equal protection requirement on the federal government,
and that the order denies Lake Freeman users equal protection under that provision. 58

       Constitutional due process requires certain procedural safeguards, including the
requirement that a party affected by government action be given “notice reasonably
calculated, under all circumstances, to apprise interested parties of the pendency of the
action,” 59 and also the “opportunity to be heard at a meaningful time and in a meaningful
manner.” 60 With respect to due process and equal protection, the Protest Coalition and other
interested persons had an opportunity to present concerns regarding the amendment of the
license, and in fact did. Commission staff issued a notice of NIPSCO’s amendment on
February 12, 2015, to which the Protest Coalition responded by filing a motion to intervene
and protest. 61 Additionally, Commission staff held a publicly-noticed technical conference
on May 10, 2016, to solicit comments on staff’s draft EA and on the various hydraulic
analyses and expert opinions available. 62 The Protest Coalition had an opportunity to
present its analysis and to ask the FWS questions regarding the methods in its Assistance
Letter during the technical conference. The Commission considered those arguments and
agreed with the Protest Coalition in some respects. Thus, we find that the Protest Coalition
was afforded due process and therefore, that users of Lake Freeman and Shafer were
afforded similar treatment in our proceeding.

       The Protest Coalition contends that the Order Amending License treats users at
Freeman Lake disparately from users at Lake Shafer. 63 The Protest Coalition explains that
the order sets a minimum elevation limit at Lake Shafer, which has the effect of protecting



      58
           Protest Coalition’s Request for Rehearing at 5.
      59
           Jones v. Flowers, 547 U.S. 220, 226 (2006).
      60
         Mathews v. Eldridge, 424 U.S. 319, 333 (1976) (quoting Armstrong v. Manzo,
380 U.S. 545, 552 (1965)).
      61
         Order Amending License, 163 FERC ¶ 61,212 at P 25 (staff extended the filing
deadline of NIPSCO’s amendment application twice, affording interested persons an
additional 60 days to file a motion to intervene, comment, or protest).
      62
           Id. at P 28.
      63
           Protest Coalition’s Request for Rehearing at 5.




                                                                                   Attachment 2
USCA Case #19-1066          Document #1778708             Filed: 03/15/2019     Page 67 of 68
Project No. 12514-085                                                                  - 15 -

recreation at this lake. 64 However, Lake Freeman has no lower limit and could potentially
be drawn down to the river bed. 65

       “Both the Equal Protection Clause and the [Administrative Procedure Act] prohibit
agencies from treating similarly situated petitioners differently without providing
sufficiently reasoned justification for the disparate treatment.” 66

        We agree that users of Lake Freeman bear the burden of ESA compliance under the
requirements of the biological opinion and the Order Amending License, and that users of
Lake Shafer are not similarly burdened. Prior to issuance of the order, the reservoir
elevations of Lakes Freeman and Shafer remained within 0.25 feet above or below their
normal reservoir elevations, which afforded lake users similar treatment for recreation and
tourism. In the final EA, Commission staff recommended that NIPSCO maintain the
reservoir elevation at Lake Freeman at no lower than an elevation of 612.20 feet NVGD 67 in
order to preserve the numerous resources at Lake Freeman in addition to enhancing mussel
populations downstream of the project. 68 However, FWS disagreed. FWS determined that
removing Lake Freeman’s lower lake-level restriction would allow NIPSCO to use storage
from Lake Freeman to comply with the flow releases required by the Assistance Letter.
FWS explained that flows downstream of the Oakdale dam (from Lake Freeman) have been
frequently reduced as a result of NIPSCO maintaining certain minimum lake levels in Lakes
Freeman and Shafer. 69 FWS stated that mussel mortality linked to dam management is
likely to increase with the duration of the natural low-flow period, and that it is essential to
the protection of mussels that the Norway-Oakdale Project be managed to avoid even brief
episodes of inadequate flow downstream of Lake Freeman. 70 Thus, FWS required the
removal of the lower lake restriction at Lake Freeman to protect endangered mussel species,
causing disparate treatment between users at Lakes Freeman and Shafer. However, we find
that because FWS provided sufficient justification for this disparate treatment, the order did
not violate the Due Process Clause or the Administrative Procedures Act.


       64
            Id.
       65
            Id.
       66
          Muwekma Ohlone Tribe v. Kempthorne, 452 F.Supp.2d 105, 115 (D.D.C. 2006)
(citing Settles v. U.S. Parole Comm’n, 429 F.3d 1098, 1102-03 (D.C. Cir. 2005)).
       67
            Order Amending License, 163 FERC ¶ 61,212 at P 36; final EA at 17.
       68
            Order Amending License, 163 FERC ¶ 61,212 at P 32; final EA at 87.
       69
            Order Amending License, 163 FERC ¶ 61,212 at P 48.
       70
            Id.



                                                                                    Attachment 2
USCA Case #19-1066        Document #1778708           Filed: 03/15/2019    Page 68 of 68
Project No. 12514-085                                                            - 16 -

      In summary, for the reasons discussed above, we hereby deny rehearing.

The Commission orders:

      Shafer and Freeman Lakes Environmental Protest Coalition’s request for rehearing is
denied.

By the Commission.

(SEAL)




                                             Kimberly D. Bose,
                                                Secretary.




                                                                               Attachment 2
